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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7

                                   8        RENE CABRERA, et al.,                           Case No. 5:11-cv-01263-EJD
                                                         Plaintiffs,                        ORDER DENYING DEFENDANT’S
                                   9
                                                                                            MOTION FOR SUMMARY JUDGMENT;
                                                  v.                                        DENYING DEFENDANT’S MOTION TO
                                  10
                                                                                            STRIKE EXPERTS; AND GRANTING IN
                                  11        GOOGLE LLC,                                     PART AND DENYING IN PART
                                                                                            PLAINTIFFS’ MOTION FOR CLASS
                                                         Defendant.                         CERTIFICATION
                                  12
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 United States District Court




                                  13                                                        Re: ECF Nos. 426, 442, 615

                                  14            This action involves a long-running dispute between Defendant Google LLC and

                                  15   advertisers who used its AdWords program. In this dispute, Plaintiffs Rene Cabrera and RM

                                  16   Cabrera Company, Inc. (“RMC,” and collectively with Cabrera, “Plaintiffs”) allege that Google

                                  17   failed to properly apply Smart Pricing discounts and failed to limit advertisements to the

                                  18   geographic locations that advertisers were targeting. Now before the Court are several motions:

                                  19   Google’s motion for summary judgment (ECF No. 615), Google’s motion to strike Plaintiffs’

                                  20   expert reports (ECF No. 442), and Plaintiffs’ motion for class certification (ECF No. 426). After

                                  21   careful consideration of the pleadings, the parties’ briefs, oral argument at hearing, and the record

                                  22   in this matter, the Court DENIES Google’s motion for summary judgment, DENIES Google’s

                                  23   motion to strike, and GRANTS IN PART and DENIES IN PART Plaintiffs’ motion for class

                                  24   certification.

                                  25   I.       BACKGROUND

                                  26            The Court has issued multiple opinions in this matter extending back over a decade and has

                                  27   summarized the facts on several occasions. See, e.g., ECF Nos. 85, 122, 253, 480. Accordingly,

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                                   1   the Court here will only provide a brief overview of the facts relevant to this Order.

                                   2          A.      Plaintiffs

                                   3          Cabrera is a Florida citizen who co-owns RMC (formerly known as Training Options).

                                   4   Fifth Am. Class Action Compl. (“Compl.”) ¶ 18, ECF No. 567. In 2008, he opened an AdWords

                                   5   account to purchase advertising on behalf of Training Options, and it is these purchases that are

                                   6   now the subject of Cabrera’s and RMC’s individual claims against Google. Pls.’ Responsive

                                   7   Separate Statement Undisputed Facts (“SUF”), Fact 22–23 (undisputed), ECF No. 623-1; Compl.

                                   8   ¶¶ 7, 44. However, in 2009, Cabrera sold the assets of Training Options and allowed the

                                   9   corporation to dissolve. SUF, Facts 26–27 (disputed). The Court found that this sale included

                                  10   Training Options’ claims against Google and that Cabrera lacked standing to raise those claims.

                                  11   2/26/19 Order, ECF No. 480. To remedy this issue, Cabrera requested that the purchaser of

                                  12   Training Options assign the relevant claims back to Cabrera, and the purchaser agreed. Mustokoff
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                                  13   Decl., Ex. 2, ECF No. 495-3. Cabrera then reinstated Training Options (renamed as RM Cabrera

                                  14   Company) for the purpose of bringing the instant claims. SUF, Facts 29–30 (undisputed).

                                  15          B.      Factual Background

                                  16          As a broad overview, this action pertains to Google’s AdWords program, which allows

                                  17   advertisers to create and display ads on webpages within Google’s advertising networks. SUF,

                                  18   Fact 1 (undisputed). There are two components to those advertising networks: (1) the “Search

                                  19   Network,” which consists of google.com and Google’s partner search websites, and (2) the

                                  20   “Display Network,” which consists of other webpages whose owners partner with Google to

                                  21   display advertisements. SUF, Facts 4–7 (undisputed).

                                  22          AdWords operates via an auction system. SUF, Fact 8 (undisputed). When a user visits a

                                  23   webpage or performs a search, advertisers will compete in a second-price auction to display their

                                  24   ads to that user. Id. Unlike a typical auction where the winning bidder pays the amount of its

                                  25   winning bid, in a second-price auction, the winning bidder only pays a de minimis amount more

                                  26   (here, a penny) than the second-highest bid. Id. Fact 11 (disputed). So, for example, if the

                                  27   winning bid is 60 cents and the second-highest bid is 50 cents, the winning advertiser will only

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                                   1   pay 51 cents. Bids are typically made on a cost-per-click basis, which is the amount the advertiser

                                   2   is charged when someone clicks on its ads. Id. Fact 9 (undisputed).

                                   3                   1.      Smart Pricing

                                   4           One feature that Google offers as part of AdWords is known as “Smart Pricing.” SUF,

                                   5   Fact 12 (disputed); Compl. ¶ 25. This feature discounts the price that advertisers pay based on the

                                   6   likelihood that a click “converts” or leads to a “conversion,” i.e., a successful transaction as

                                   7   defined by the advertiser. SUF, Facts 13–14 (undisputed). Put differently, when a click on one

                                   8   web property is less likely to convert than a click on a benchmark property, Google will provide a

                                   9   discount. Id. Facts 15–16 (disputed); Compl. ¶ 26. In practice, Google provides the Smart Pricing

                                  10   discount by applying a multiplier, where lower multipliers represent a greater discount. See

                                  11   Mazzeo Decl., Ex. 25 (“7/10/15 Solomon Rep.”) at 31–33, ECF No. 424-33 (using multipliers to

                                  12   calculate damages).
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                                  13           According to Plaintiffs, Google is contractually obligated to Smart Price all clicks. Compl.

                                  14   ¶ 5. Before an advertiser can join the AdWords program, it must sign a standard contract that the

                                  15   parties refer to as the AdWords Agreement. SUF, Fact 2 (undisputed); see also Compl., Ex. A

                                  16   (“AdWords Agreement”). Although the AdWords Agreement does not explicitly address Smart

                                  17   Pricing, it states that “[c]harges are solely based on Google’s measurements for the applicable

                                  18   Program, unless otherwise agreed to in writing.” AdWords Agreement ¶ 7. In turn, extrinsic

                                  19   evidence allegedly shows that Smart Pricing is a “measurement” within the meaning of that

                                  20   clause. Compl. ¶¶ 50–53.

                                  21           Plaintiffs claim that Google has violated this measurements clause of the AdWords

                                  22   Agreement in two ways: (1) by failing to Smart Price some clicks altogether and (2) by failing to

                                  23   provide a sufficient Smart Pricing discount for others. Id. ¶ 15 & n.6.

                                  24                   2.      Location Targeting

                                  25           When advertisers set up their campaigns on AdWords, Google allows the advertisers to

                                  26   select certain regions that their ads will target, a feature the parties refer to as “Location

                                  27   Targeting.” SUF, Fact 35 (disputed); Compl. ¶ 60.

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                                   1          Specifically, advertisers were asked, “In what geographical locations do you want your ads

                                   2   to appear?” This question was accompanied by a link that opened a text box with the following:

                                   3
                                                      Location targeting
                                   4
                                                      You can target your ads to almost any set of locations, including
                                   5                  countries, territories, regions, cities and custom areas. For example,
                                                      you could target specific regions with the United States and a few
                                   6                  large English-speaking cities in Europe. You can view or edit your
                                                      targeting options from the Settings tab for your campaign.
                                   7
                                       Compl. ¶¶ 61–62 (citing Compl., Exs. N, O). At the time Cabrera enrolled in AdWords on behalf
                                   8
                                       of RMC, he encountered a different language conveying a similar message:
                                   9
                                                      Target customers by regions / cities
                                  10
                                                      Highlight the cities and regions on the left where you’d like your ad
                                  11                  to appear, then click “Add.” Select as many regions as you like. You
                                                      may also type city names directly into the box below.
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                                       Compl. ¶ 63.1 Cabrera selected Florida, North Carolina, Georgia, and Louisiana as the locations
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                                  13
                                       for RMC’s advertising campaign to target. Id. ¶ 64.
                                  14
                                              Once an advertiser selects the locations it wishes to target, Google will use those selected
                                  15
                                       locations to determine whether to present an advertisement to a particular Internet user based on
                                  16
                                       certain factors. SUF, Fact 35 (disputed). One such factor is the user’s estimated physical location,
                                  17
                                       as derived from the user’s IP address. Id. Another factor Google considers is the content of the
                                  18
                                       user’s search query that may indicate the user’s interest in an area (“Area of Interest”) regardless
                                  19
                                       of that user’s actual physical location; this process is known as “query parsing.” Id. Through
                                  20
                                       query parsing, Google may show ads to someone searching “New York plumbers,” even if that
                                  21
                                       search is from an IP address located outside of New York. Id.
                                  22
                                              Accordingly, even though RMC only targeted Florida, North Carolina, Georgia, and
                                  23
                                       Louisiana for its advertising campaign, Compl. ¶ 64, it paid for clicks from users physically
                                  24
                                       located in New York, Virginia, California, Illinois, Texas, and other states. Kaplan Decl., Ex. 7
                                  25

                                  26   1
                                         The Court will collectively refer to the various iterations of statements presented on the Adwords
                                  27   Settings screen where advertisers set up Location Targeting as the “LT Settings Screen”
                                       statements.
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                                   1   (“11/8/18 Gibson Decl.”) ¶ 8, ECF No. 622-12. RMC claims that this was a violation of the

                                   2   California Unfair Competition Law (“UCL”).2 Compl. ¶¶ 69–85.

                                   3          C.      Procedural History

                                   4          As the age of this suit may indicate, the road to this point has not been smooth. This action

                                   5   began in 2011, when former plaintiff Rick Woods filed suit. Class Action Compl., ECF No. 1.

                                   6   After extensive motion practice, including summary judgment, the parties finally arrived at the

                                   7   class certification stage in 2018. ECF Nos. 274, 276. The Court denied class certification at that

                                   8   time, finding that Woods’ entanglement with class counsel raised a conflict that rendered him

                                   9   inadequate to represent the putative class. 8/23/2018 Order, ECF No. 366. However, the Court

                                  10   granted leave to amend to substitute in a new proposed class representative. Id.

                                  11          Shortly thereafter, Rene Cabrera, one of the current plaintiffs, joined the suit. Third Am.

                                  12   Class Action Compl., ECF No. 368. In November 2018, Cabrera filed a renewed motion for class
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                                  13   certification.3 Mot. for Class Certification (“CC Mot.”), ECF No. 426. Google filed an

                                  14   opposition, and Cabrera replied. Opp. to Mot. for Class Certification (“CC Opp.”), ECF No. 444;

                                  15   Reply in Further Support of Mot. for Class Certification (“CC Reply”), ECF No. 457. Google also

                                  16   filed multiple motions under Daubert to strike various experts that Plaintiffs had set forth in

                                  17   support of class certification, only one of which remains to be resolved in this Order. See

                                  18   Google’s Mot. to Strike (“MTS”) 6–11, ECF No. 442.

                                  19          While Cabrera’s motion for class certification was pending, Google filed a motion to

                                  20   dismiss. The Court granted Google’s motion and dismissed Cabrera for lack of standing. 2/26/19

                                  21   Order. Subsequently, the parties settled Woods’ individual claims, after which Cabrera appealed

                                  22   the dismissal of his claims. Notice of Appeal, ECF No. 526. In early 2021, the Ninth Circuit

                                  23   reversed, vacating the Court’s 2/16/19 Order and remanding for further proceedings. 1/4/21 Ninth

                                  24   Cir. Mem., ECF No. 533. Later that year, Cabrera joined RMC as a named plaintiff, the third

                                  25
                                       2
                                  26    This claim is brought only by RMC, not Cabrera.
                                       3
                                        The docket entry for this motion reflects that it was filed by both Woods and Cabrera, though the
                                  27   motion itself purports only to be filed by Cabrera.
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                                   1   different plaintiff since this action began. See Compl.

                                   2          Because several years had passed since the parties initially filed their class certification

                                   3   papers in 2018, and a new plaintiff had joined the suit, the Court called for a supplemental round

                                   4   of briefing. See Plfs.’ Suppl. Mot. Class Certification (“Suppl. CC Mot.”), ECF No. 579;

                                   5   Google’s Suppl. Opp. Mot. Class Certification (“Suppl. CC Opp.”), ECF No. 598; Plfs.’ Reply in

                                   6   Further Support of Suppl. to Mot. for Class Certification (“Suppl. CC Reply”), ECF No. 608.

                                   7          Google also filed a motion for summary judgment after the parties had completed

                                   8   supplemental briefing on class certification. See Google’s Mot. for Summary Judgment (“MSJ”),

                                   9   ECF No. 615; Plfs.’ Opp. to Mot. for Summary Judgment (“MSJ Opp.”), ECF No. 623; Google’s

                                  10   Reply in Support of Mot. for Summary Judgment (“MSJ Reply”), ECF No. 629.

                                  11          Plaintiffs’ 2018 motion for class certification, Google’s most recent motion for summary

                                  12   judgment, and Google’s Daubert motion are now before the Court.
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                                  13   II.    LEGAL STANDARDS
                                  14          A.      Summary Judgment

                                  15          Under Federal Rule of Civil Procedure 56, a court may grant summary judgment only

                                  16   when the moving party shows that there is no genuine dispute of material fact. A genuine dispute

                                  17   exists if there is sufficient evidence that a reasonable fact finder could decide in favor of the

                                  18   nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). And that dispute is

                                  19   material if it might affect the outcome of the suit. Id.

                                  20          In determining if a genuine dispute of material fact exists, a court must “tak[e] the

                                  21   evidence and all reasonable inferences drawn therefrom in the light most favorable to the non-

                                  22   moving party.” Torres v. City of Madera, 648 F.3d 1119, 1123 (9th Cir. 2011). The moving party

                                  23   bears the burden of persuading the Court that there is no genuine dispute of material fact, and it

                                  24   also bears the initial burden of producing evidence that demonstrates there is no dispute.

                                  25   Cunningham v. Medtronic, Inc., 2018 WL 4053446, at *2 (N.D. Cal. Aug. 24, 2018) (citing

                                  26   Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)).

                                  27          When the moving party does not bear the ultimate burden of persuasion at trial, it may

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                                   1   satisfy its burden of production at summary judgment by either (a) “produc[ing] evidence negating

                                   2   an essential element of the nonmoving party’s claim or defense” or (b) “show[ing] that the

                                   3   nonmoving party does not have enough evidence of an essential element to carry its ultimate

                                   4   burden of persuasion at trial.” Nissan Fire & Marine Ins. Co. v. Fritz Cos., Inc., 210 F.3d 1099,

                                   5   1102 (9th Cir. 2000). If the moving party fails to satisfy its burden of production, the nonmoving

                                   6   party need not produce anything—summary judgment will already have been defeated. Id. at

                                   7   1102–03. But if the moving party fulfills its burden of production, the nonmoving party must

                                   8   produce evidence supporting its claim or defense. Id. at 1103. In that scenario, the nonmoving

                                   9   party will defeat summary judgment by producing enough evidence to create a genuine issue of

                                  10   material fact; failing that, the moving party will prevail on its motion. Id.

                                  11           However, when the moving party bears the ultimate burden of persuasion, its initial burden

                                  12   of production is to “establish ‘beyond controversy every essential element of’” its claim or
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                                  13   defense. S. Cal. Gas Co. v. City of Santa Ana, 336 F.3d 885, 888 (9th Cir. 2003) (citation

                                  14   omitted). If the moving party satisfies this initial burden, the nonmoving party can nonetheless

                                  15   defeat summary judgment by showing “the evidence, taken as a whole, could lead a rational trier

                                  16   of fact to find in its favor.” Id.

                                  17           B.      Expert Testimony

                                  18           Courts act as the gatekeeper of expert testimony to ensure that such testimony is reliable

                                  19   and relevant under Federal Rule of Evidence 702. Kumho Tire Co. v. Carmichael, 526 U.S. 137,

                                  20   147 (1999); see also Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). The proponent

                                  21   of expert testimony has the burden of proving admissibility. In re Korean Ramen Antitrust Litig.,

                                  22   281 F. Supp. 3d 892, 931 (N.D. Cal. 2017) (citations omitted). Before an expert can offer her

                                  23   opinions, she must be qualified by “knowledge, skill, experience, training, or education.” Fed. R.

                                  24   Evid. 702. Once she is qualified, Rule 702 permits her to testify as long as “(a) the expert's

                                  25   scientific, technical, or other specialized knowledge will help the trier of fact to understand the

                                  26   evidence or to determine a fact in issue; (b) the testimony is based on sufficient facts or data; (c)

                                  27   the testimony is the product of reliable principles and methods; and (d) the expert has reliably

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                                   1   applied the principles and methods to the facts of the case.” Id. This multifactor inquiry is

                                   2   flexible, and “Rule 702 should be applied with a ‘liberal thrust’ favoring admission.” Wendell v.

                                   3   GlaxoSmithKline LLC, 858 F.3d 1227, 1232 (9th Cir. 2017) (citations omitted).

                                   4          Although courts must screen expert testimony for reliability, what they assess “is not the

                                   5   correctness of the expert’s conclusions but the soundness of [her] methodology.” City of Pomona

                                   6   v. SQM N. Am. Corp., 750 F.3d 1036, 1044 (quoting Primiano v. Cook, 598 F.3d 558, 564 (9th

                                   7   Cir. 2010)). In other words, Daubert is not a “guarantee[] of correctness.” i4i Ltd. P’ship v.

                                   8   Microsoft Corp., 598 F.3d 831, 855 (Fed. Cir. 2010). “[T]he case law—particularly Ninth Circuit

                                   9   case law—emphasizes that a trial judge should not exclude an expert opinion merely because he

                                  10   thinks it’s shaky, or because he thinks the jury will have cause to question the expert’s credibility.

                                  11   So long as an opinion is premised on reliable scientific principles, it should not be excluded by the

                                  12   trial judge.” In re Roundup Prods. Liab. Litig., 390 F. Supp. 3d 1102, 1109 (N.D. Cal. 2018).
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                                  13          C.      Class Certification

                                  14          Federal Rule of Civil Procedure 23 sets forth the two-step process for certifying class

                                  15   actions. First, a plaintiff must establish that “(1) the class is so numerous that joinder of all

                                  16   members is impracticable; (2) there are questions of law or fact common to the class; (3) the

                                  17   claims or defenses of the representative parties are typical of the claims or defenses of the class;

                                  18   and (4) the representative parties will fairly and adequately protect the interests of the class.” Fed.

                                  19   R. Civ. P. 23(a). Second, the plaintiff must separately show that the proposed class fits into one of

                                  20   the three categories of Rule 23(b). In the present case, Plaintiffs seek to invoke the third category,

                                  21   Rule 23(b)(3), which requires the Court to find that “the questions of law or fact common to class

                                  22   members predominate over any questions affecting only individual members, and that a class

                                  23   action is superior to other available methods for fairly and efficiently adjudicating the

                                  24   controversy.” Fed. R. Civ. P. 23(b)(3).

                                  25          To meet their obligations under Rule 23, plaintiffs “must actually prove—not simply

                                  26   plead—that their proposed class satisfies each requirement of Rule 23” by a preponderance of the

                                  27   evidence. Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 664–65

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                                   1   (9th Cir. 2022) (en banc) (citation omitted), cert. denied, 143 S. Ct. 424 (2022). Courts must

                                   2   conduct a “rigorous” analysis of the Rule 23 factors that will often “entail some overlap with the

                                   3   merits of the plaintiff’s underlying claim.” Ellis v. Costco Wholesale Corp., 657 F.3d 970, 980

                                   4   (9th Cir. 2011) (quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011)). However,

                                   5   “Rule 23 grants courts no license to engage in free-ranging merits inquiries at the certification

                                   6   stage. Merits questions may be considered to the extent—but only to the extent—that they are

                                   7   relevant to determining whether the Rule 23 prerequisites for class certification are satisfied.”

                                   8   Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 466 (2013).

                                   9   III.   GOOGLE’S MOTION FOR SUMMARY JUDGMENT4

                                  10          A.      Breach of Contract Claim (Smart Pricing)

                                  11          Google seeks summary judgment on Plaintiffs’ Smart Pricing claims on three grounds: (1)

                                  12   Plaintiffs have not offered any evidence showing that they were damaged because they have failed
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                                  13   to account for the auction dynamics that determine AdWords pricing; (2) Cabrera has no claim

                                  14   because any damage was suffered by RMC, the third-party beneficiary of the AdWords

                                  15   Agreement; and (3) the AdWords Agreement does not specify a particular Smart Pricing formula,

                                  16   so there is no breach as to any clicks that were Smart Priced “to at least some degree.” MSJ 6–7.

                                  17                  1.      Lack of Damage

                                  18          Google opens by asserting Plaintiffs have not demonstrated appreciable and actual damage.

                                  19   This argument rests on two premises: the assumption that Smart Pricing applies to bids as

                                  20   opposed to the final cost-per-click paid, and the fact that AdWords conducts second-price

                                  21   auctions. MSJ 3, 7. From Google’s perspective, the consequence of these two premises is that

                                  22   Plaintiffs would not have been damaged if, after Smart Pricing discounted their winning bid, the

                                  23   discounted bid was still greater than the second-place bid. Id. at 7–8 & n.4. That is because

                                  24

                                  25   4
                                         To the extent Plaintiffs argue that the Court’s prior denials of summary judgment constitute law
                                       of the case and are entitled to controlling weight, 7/7/22 Hr’g Tr. 134:18–25, ECF No. 653, the
                                  26   Ninth Circuit has expressly held that “the denial of a summary judgment motion is never law of
                                       the case because factual development of the case is still ongoing.” Peralta v. Dillard, 744 F.3d
                                  27   1076, 1088 (9th Cir. 2014).
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                                   1   Plaintiffs would have paid the same amount—one cent more than the second-place bid—

                                   2   regardless of whether their bid was Smart Priced or not. Google contends that Plaintiffs have

                                   3   failed to adduce evidence showing this scenario did not occur, and therefore summary judgment

                                   4   against Plaintiffs is proper. Id. at 8. Plaintiffs respond that it is Google who has failed to

                                   5   affirmatively produce evidence showing that such scenario occurred, and they also argue that

                                   6   Smart Pricing applies to post-auction costs rather than bids. MSJ Opp. 9–11.

                                   7          The Court begins by addressing the burden of production, as both parties fault the other for

                                   8   failing to produce evidence. The requirement of “appreciable and actual damage” is an element of

                                   9   a claim for breach of contract under California law. Aguilera v. Pirelli Armstrong Tire Corp., 223

                                  10   F.3d 1010, 1015 (9th Cir. 2000).5 Plaintiffs, therefore, have the burden of persuasion at trial to

                                  11   show that they suffered actual damage. As a result, Google as the moving party can meet its

                                  12   burden of production at summary judgment “by pointing out . . . that there is an absence of
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                                  13   evidence to support [Plaintiffs’] case.” Nissan Fire & Marine, 210 F.3d at 1105 (quoting Celotex,

                                  14   477 U.S. at 325). Although Google could alternatively meet its burden by negating the element of

                                  15   actual damage, it is not obligated to do so. Id. at 1106. Consequently, Google was not required to

                                  16   produce evidence substantiating its damages argument.

                                  17          Nonetheless, summary judgment is not warranted on this basis because there is a genuine

                                  18   dispute of material fact over the argument’s underlying premise. Google’s theory is based on the

                                  19   presumption that Smart Pricing is properly applied to bids rather than the post-auction cost of a

                                  20   click. However, if the AdWords Agreement requires Google to Smart Price post-auction costs

                                  21   instead, the dynamics of a particular auction would be immaterial. Under that interpretation of the

                                  22   AdWords Agreement, damage would depend on Google’s failure to Smart Price the post-auction

                                  23   cost of a click, irrespective of the auction history or how bids were priced.

                                  24
                                       5
                                        California courts have suggested that nominal damages are available for breach of contract, so
                                  25   Aguilera was mistaken to require appreciable and actual damages. E.g., Elation Sys., Inc. v. Fenn
                                       Bridge LLC, 71 Cal. App. 5th 958, 967 (2021). However, this Court is bound to follow Aguilera
                                  26   as Ninth Circuit precedent. Ruiz v. Gap, Inc., 380 F. App’x 689, 692 (9th Cir. 2010) (following
                                       Aguilera despite finding that California law supports the availability of nominal damages in
                                  27   contract actions).
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                                   1          In arguing that there is no dispute, Google points to evidence that, in practice, it Smart

                                   2   Priced bids, not post-auction costs. See 4/16/15 Harrower Decl. ¶ 8, ECF No. 208-8. While

                                   3   Google may be correct about its practices, those practices do not affect the determination and

                                   4   interpretation of Google’s obligations under the AdWords Agreement. This is not mere legal

                                   5   pedantry. Plaintiffs have marshalled evidence in support of their interpretation of the AdWords

                                   6   Agreement. See Kaplan Decl., Ex. 63, ECF No. 622-66 (summary of Google documents and

                                   7   public statements indicating that Smart Pricing applies to the post-auction cost of clicks rather

                                   8   than bids)6; 7/10/15 Solomon Rep. at 9–15 (summarizing both public and internal statements by

                                   9   Google that Smart Pricing applies to the cost of clicks). What is more, Google’s own evidence

                                  10   supports Plaintiffs’ position. Mandhania Decl., Ex. 2, ECF No. 615-4 at 2 (Google Learning

                                  11   Center page stating: “While you set one CPC bid, if our data shows that a click from a content

                                  12   page is less likely to turn into actionable business results . . . we reduce the price you pay for that
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                                  13   click.”) (emphasis added). That is not to say Google’s position lacks all evidence. See FAC, Ex.

                                  14   E at 2 (“Smart pricing . . . discounts advertiser bids accordingly.”) (emphasis added). But at this

                                  15   stage, there is enough of a dispute over the meaning of the AdWords Agreement to preclude

                                  16   summary judgment for lack of appreciable damage.

                                  17                  2.      Presence of Third-Party Beneficiary

                                  18          Next, Google advances two arguments related to RMC’s status as a third-party beneficiary

                                  19   of the AdWords Agreement.7 Specifically, it asserts that Cabrera’s breach of contract claim must

                                  20   fall in light of RMC’s claim because RMC suffered the relevant damages instead of Cabrera. MSJ

                                  21   9. Google also argues that permitting both RMC’s and Cabrera’s claims to proceed would result

                                  22   in an impermissible double recovery. Id. at 11. In rejoinder, Plaintiffs contend that the Ninth

                                  23

                                  24   6
                                         Many of the documents summarized in Exhibit 63 are identified only by a Bates number, making
                                  25   it impossible for the Court to determine the identities and weight of those documents. Still, there
                                       are enough documents labeled by URL—from which the Court can glean the identities of some
                                  26   documents—for the Court to understand the significance and meaning of the exhibits.
                                       7
                                         Google does not contest that RMC is an intended third-party beneficiary who can sue for breach
                                  27   of contract.
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                                   1   Circuit already addressed the viability of Cabrera’s claim when it held that Cabrera suffered a

                                   2   cognizable injury, and they assert that any concerns about double recovery should be addressed at

                                   3   the damages phase, not at summary judgment. MSJ Opp. 13–14.

                                   4           The Court starts with Google’s argument that only RMC may sue for damages. Under

                                   5   California law, when a contract is intended to benefit a third party, the signatory who received the

                                   6   contractual promise (the “promisee”) may sue for damages only in limited situations. In re

                                   7   Marriage of Smith & Maescher, 21 Cal. App. 4th 100, 107 (1993).8 If the third-party beneficiary

                                   8   is a “creditor”—meaning that it receives the benefits of the contract in satisfaction of a debt or

                                   9   obligation owed by the promisee—then the promisee can recover damages as long as there is no

                                  10   conflict with the rights of the beneficiary or the party who made the promise. Id. The rationale is

                                  11   that “the promisee may suffer substantial damages as a result of breach,” as a breach may cause

                                  12   the promisee to default on her obligations. Id. (quoting Restatement (Second) of Contracts § 305
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                                  13   cmt. a); see also Restatement (Second) of Contracts § 307 cmt. c (similar). On the other hand, if

                                  14   the beneficiary is a “donee”—meaning that the performance promised to the beneficiary is a gift—

                                  15   the promisee has no economic interest in the performance and cannot sue for damages. Smith &

                                  16   Maescher, 21 Cal. App. 4th at 107 (citing Restatement (Second) of Contracts § 307 cmt. d).

                                  17           Although it is not clear from case law which party bears the burden at trial on the issue of

                                  18   creditor and donee beneficiaries, the Court need not answer that question now. Google has wholly

                                  19   ignored the distinction between creditor and donee beneficiaries, offering only the erroneous

                                  20   categorical statement that promisees like Cabrera can never sue for damages when there is an

                                  21

                                  22   8
                                         The Smith & Maescher court technically interpreted Massachusetts contract law when discussing
                                       the ability of a promisee to recover damages. 21 Cal. App. 4th at 106. However, it relied on
                                  23   common law principles from the Restatement (Second) of Contracts, and “the Restatement[,] . . .
                                       ‘in the absence of a contrary statute or decision in this state . . . is entitled to great consideration as
                                  24   an argumentative authority.’” Lake Almanor Assocs. L.P. v. Huffman-Broadway Grp., Inc., 178
                                       Cal. App. 4th 1194, 1200 (2009) (quoting Canfield v. Sec.-First Nat’l Bank, 13 Cal. 2d 1, 30–31
                                  25   (1939)). The Court has found no decision or statute contrary to the Restatement sections cited by
                                       Smith & Maescher. Moreover, another court in this district has adopted the reasoning of Smith &
                                  26   Maescher when ruling on a California contract claim. See Ehret v. Uber Techs., Inc., 68 F. Supp.
                                       3d 1121, 1140 (N.D. Cal. 2014). The Court therefore follows the approach outlined in Smith &
                                  27   Maescher.
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                                   1   intended third-party beneficiary. MSJ 12. Because Google has not addressed the issue at all, it

                                   2   has failed to meet its burden of production whether or not it bears the ultimate burden at trial.9

                                   3          For similar reasons, summary judgment on Google’s double recovery argument is also

                                   4   unjustified. Even if Google is correct that the rule against double recovery requires dismissal of

                                   5   one of the Plaintiffs, it has offered neither evidence nor viable argument about which Plaintiff

                                   6   must be dismissed. The Court has already found as insufficient the argument that Cabrera cannot

                                   7   sue for damages because RMC is the intended third-party beneficiary. All that remains is

                                   8   Google’s unsupported assertion that it is Cabrera who must go. MSJ 11–12. Such bald assertions

                                   9   are not enough to dismiss Cabrera on summary judgment. To the extent that Google is concerned

                                  10   about double recovery, it may address those concerns at the damages stage of litigation.

                                  11                  3.      Smart Pricing Formula

                                  12          For its final argument, Google contends that the AdWords Agreement does not contain a
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                                  13   promise to apply a specific Smart Pricing formula. MSJ 13. According to Google, in the absence

                                  14   of a specific promise, the AdWords Agreement cannot be interpreted to require any particular

                                  15   discount, so summary judgment should be granted as to all clicks receiving at least some Smart

                                  16   Pricing discount. Id. at 15. Plaintiffs disagree, believing that the Court already considered and

                                  17   rejected this argument in an earlier order. MSJ Opp. 14–15.

                                  18          Plaintiffs are correct that Google’s argument is not a new one. Google placed the

                                  19   argument squarely before the Court in its prior motion for summary judgment. ECF No. 205 at 13

                                  20   (motion); ECF No. 238 at 2–5 (reply). The Court did not explicitly address the argument when

                                  21   resolving that motion, 9/28/2017 Order, ECF No. 253, but it did not grant Google’s motion on that

                                  22   basis, thereby implicitly rejecting the argument. Although the factual record now before the Court

                                  23   is different than the one from Google’s earlier motion, the record remains the same as to the

                                  24   relevant issue—interpretation of the AdWords Agreement. In particular, the extrinsic evidence

                                  25
                                       9
                                        The Court need not address Plaintiffs’ argument that the Ninth Circuit already resolved Google’s
                                  26   argument in the prior appeal in this matter, but it observes that the Ninth Circuit’s decision dealt
                                       with Article III standing, not with issues of damages under California contract law. See 1/4/21
                                  27   Ninth Cir. Mem.
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                                   1   germane to interpreting the AdWords Agreement remains the same. Compare Second Am.

                                   2   Compl., Exs. B–G, ECF Nos. 87-2 to -7 (operative complaint for prior summary judgment

                                   3   motion), with Compl., Exs. B–G (operative complaint for current summary judgment motion).

                                   4   Thus, there is nothing in the new record that compels the Court to depart from its prior holding.

                                   5          That said, to provide guidance to the parties as this action proceeds, the Court elaborates

                                   6   on its reasoning. The pertinent provision of the AdWords Agreement provides that “[c]harges are

                                   7   solely based on Google’s measurements for the applicable Program.” AdWords Agreement ¶ 7.

                                   8   Google’s view is that this language contains no promises regarding Smart Pricing, and the inquiry

                                   9   into contractual meaning can end there. It stresses that the AdWords Agreement is fully

                                  10   integrated, so extrinsic evidence cannot be used to add to its terms. MSJ 14 (citing Casa Herrera,

                                  11   Inc. v. Beydoun, 32 Cal. 4th 336, 343 (2004)). But that is not quite accurate. Extrinsic evidence

                                  12   can still be used to “explain the meaning of a written contract . . . [if] the meaning urged is one to
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                                  13   which the written contract terms are reasonably susceptible.” Casa Herrera, 32 Cal. 4th at 343

                                  14   (alteration in original) (citation omitted). In other words, “extrinsic evidence can be admitted to

                                  15   explain the meaning of the contractual language at issue, although it cannot be used to contradict it

                                  16   or offer an inconsistent meaning.” Hot Rods, LLC v. Northrop Grumman Sys. Corp., 242 Cal.

                                  17   App. 4th 1166, 1175 (2015).

                                  18          As the Court previously found, when read in the context of extrinsic evidence provided by

                                  19   Plaintiffs, the relevant contractual clause is reasonably susceptible to the interpretation that all

                                  20   clicks must be Smart Priced. 8/24/12 Order 8, ECF No. 85. The extrinsic evidence also addresses

                                  21   how Google should Smart Price clicks: In an FAQ about AdWords, Google explained, “Smart

                                  22   pricing uses conversion data to help determine if Search and Display Network partner sites are

                                  23   likely to convert at different rates and discounts advertiser bids accordingly.” Compl., Ex. E at 2

                                  24   (emphasis added). A fact finder could conclude that this means Google must apply discounts

                                  25   “according” to its conversion data, scaling the size of the discount such that an advertiser receives

                                  26   a greater discount as conversion rates decrease. Under this understanding of the AdWords

                                  27   Agreement, Google is required to do more than apply some arbitrary discount to clicks. Plaintiffs

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                                   1   can maintain claims for improper Smart Pricing if Google applies a discount that is not

                                   2   appropriately pegged to conversion rates.

                                   3          As this illustrates, there is extrinsic evidence supporting Plaintiffs’ theory of liability, and

                                   4   resolving the parties’ contract interpretation dispute requires the Court to weigh that extrinsic

                                   5   evidence against contract language that does not expressly refer to Smart Pricing.

                                   6   Notwithstanding the need to weigh extrinsic evidence, Google urges the Court to resolve the

                                   7   contract interpretation issue now. MSJ 15. And it is true that, in some instances, the extrinsic

                                   8   evidence may be “so one-sided that no reasonable person could decide to the contrary.” Unicom

                                   9   Sys., Inc. v. Elec. Data Sys., Corp., 2005 WL 5801534, at *12 (C.D. Cal. Nov. 1, 2005) (quoting

                                  10   Bourque v. FDIC, 42 F.3d 704, 708 (1st Cir. 1994)). But that is not the case here. The Court

                                  11   finds that there is a genuine dispute of material fact over the proper interpretation of the AdWords

                                  12   Agreement, so summary judgment is not appropriate.
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                                  13                                                    ***

                                  14          In conclusion, the Court finds that summary judgment in favor of Google on Plaintiffs’

                                  15   Smart Pricing breach of contract claim is not warranted. Despite Google’s efforts to contest

                                  16   Plaintiffs’ theory of damages and interpretation of the AdWords Agreement, Plaintiffs have

                                  17   advanced enough evidence to establish questions of fact unsuitable for summary judgment. And

                                  18   while the evidence may ultimately establish that Cabrera may not file suit for damages because

                                  19   RMC is the third-party beneficiary of the AdWords Agreement, Google has failed to produce

                                  20   evidence justifying summary judgment on that argument. As such, Google’s motion for summary

                                  21   judgment on the Smart Pricing breach of contract claim is DENIED.

                                  22          B.      UCL Claim (Location Targeting)

                                  23          With respect to RMC’s Location Targeting UCL claim, Google moves for summary

                                  24   judgment on three bases: (1) RMC could not have reasonably relied on Google’s “LT Settings

                                  25   Screen” statement; (2) the statement is not material to reasonable advertisers; and (3) RMC did not

                                  26   suffer a cognizable UCL injury. MSJ 16.

                                  27

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                                   1                  1.      Reasonable Reliance

                                   2          Google first contends that RMC could not have reasonably relied on the LT Settings

                                   3   Screen’s statement because a Google Help Center disclosure had separately indicated that ads may

                                   4   be shown to users “regardless of the user’s physical location.” MSJ 18. RMC responds that

                                   5   reasonable reliance is not an element under the UCL; that a separate disclosure cannot cure or

                                   6   shield a misrepresentation from liability; and, in any event, there is at least a genuine issue of fact

                                   7   as to whether reliance on the LT Settings Screen’s statement was reasonable. MSJ Opp. 16–21.

                                   8          As an initial matter, the Court agrees with RMC’s characterization of the law: reasonable

                                   9   reliance is not required for it to prevail on the UCL claim. It is well-established that the elements

                                  10   for a UCL claim for fraudulent business practices are distinct from those of common law fraud.

                                  11   “A common law fraudulent deception must be actually false, known to be false by the perpetrator

                                  12   and reasonably relied upon by a victim who incurs damages. None of these elements are required
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                                  13   to state a claim for injunctive relief under the UCL.” In re Tobacco II Cases, 46 Cal. 4th 298, 312

                                  14   (2009) (internal brackets and quotation marks omitted) (emphasis added); see also Berger v. Home

                                  15   Depot USA, Inc., 741 F.3d 1061, 1068 (9th Cir. 2014) (“[T]he victim’s reliance on the false

                                  16   statements . . . [is] not required to show a violation of California’s UCL.”), abrogated on other

                                  17   grounds by Microsoft Corp. v. Baker, 582 U.S. 23 (2017). Thus, a plaintiff asserting a UCL fraud

                                  18   claim can prevail “even without allegations of . . . reasonable reliance.” Collins v. eMachines,

                                  19   Inc., 202 Cal. App. 4th 249, 258–59 (2011). That plaintiff need only show that “members of the

                                  20   public are likely to be deceived.” Tobacco II, 46 Cal. 4th at 312. “This distinction reflects the

                                  21   UCL’s focus on the defendant's conduct, rather than the plaintiff’s damages.” Id. Accordingly, to

                                  22   the extent Google argues that they are entitled to summary judgment because RMC cannot show

                                  23   that its reliance was reasonable, Google’s argument mistakes the standard for what is required for

                                  24   a UCL fraud claim.10

                                  25
                                       10
                                          This conclusion only pertains to Google’s argument to a “reasonable reliance” requirement and
                                  26   is not to be confused with the objective “reasonable person” standard that courts use to assess
                                       likelihood of deception under the UCL. See, e.g., Friedman v. AARP, Inc., 855 F.3d 1047, 1055
                                  27   (9th Cir. 2017) (“We assess likelihood of deception under a ‘reasonable consumer standard.’”).
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                                   1          That said, even if the Court were to construe Google’s argument to be challenging the

                                   2   evidence under the correct UCL standard—i.e., whether “members of the public are likely to be

                                   3   deceived”—there are nonetheless genuine issues of material fact as to whether a reasonable

                                   4   advertiser would have likely been deceived by the LT Settings Screen Statement. As Judge

                                   5   Freeman recently remarked in Roley v. Google, courts should “bear[] in mind that whether reliance

                                   6   on a misrepresentation was reasonable is a question of fact for the jury, and may be decided as a

                                   7   matter of law only if the facts permit reasonable minds to come to just one conclusion.” Roley v.

                                   8   Google LLC, 2021 WL 1091917, at *8 (N.D. Cal. Mar. 22, 2021) (internal quotation marks and

                                   9   brackets omitted) (emphasis added). In other words, for Google to prevail on its motion for

                                  10   summary judgment, it must demonstrate that the evidence could only support its conclusion that

                                  11   Plaintiffs’ reliance on the LT Settings Screen statement was unreasonable. Such a conclusion,

                                  12   however, is not supported by the evidence submitted.
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                                  13          Google contends that Help Center disclosures rendered the LT Settings Screen Statement

                                  14   unlikely to deceive, but RMC has presented evidence to substantiate at least two relevant points

                                  15   that rebut Google’s contention. First, in addition to the plain language of the LT Settings Screen

                                  16   Statement, Google had made other statements suggesting Location Targeting would appear only to

                                  17   users within the selected areas and regions. See MSJ Opp. 18; Kaplan Decl., Ex. 48, ECF No.

                                  18   622-52) (“For each Adwords campaign, [advertisers] can select the countries or regions . . . for

                                  19   your ad. That campaign’s ads will appear only to users located in those areas.”) (emphasis

                                  20   added); Kaplan Decl., Ex. 50, ECF No. 623-52 (“Geographic location is the physical area where

                                  21   you want your ads to show. When setting up a geographic location, remember to think about your

                                  22   target audience and where you can best find them. For instance, if you are a local wedding planner

                                  23   operating in San Francisco, California, it’s probably not a good idea to target users all over the

                                  24   United States.”) (emphasis added). These additional statements counterbalance any curative effect

                                  25   from Help Center disclosures, undermining Google’s ability to prevail on summary judgment.

                                  26          Second, RMC has also presented evidence that suggests an appreciable number of

                                  27   reasonably prudent advertisers did, in fact, rely on and believe that Location Targeting would yield

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                                   1   clicks only within the selected geographic area. See, e.g., Kaplan Decl. Ex. 51 at 10, ECF No.

                                   2   622-54 (describing a help ticket from an advertiser complaining, “As recommended by Google, I

                                   3   have drawn very specific boundaries around the area in which I want my ads to appear (Hawaii

                                   4   only). In the last month, there have been 80 clicks outside this area and I’m being charged for

                                   5   those clicks against my will.”) (emphasis added); Kaplan Decl., Ex. 53, ECF No. 622-56

                                   6   (remarking that the fact that “a user in Ohio searching on ‘widgets California’ will see a

                                   7   California-targeted ad . . . is a total surprise to many advertisers”) (emphasis added); Kaplan

                                   8   Decl., Ex. 55, ECF No. 622-58 (commenting that a Google employee “constantly hear[s] from

                                   9   advertisers that they weren’t aware of query parsing”); Kaplan Decl., Ex. 57, ECF No. 622-60

                                  10   (highlighting “two articles that [Google Analytics specialists] said led them to believe that

                                  11   [Google] always use[s] IP addresses to derive the data for the geographic performance report,” as

                                  12   opposed to also deriving data from query parsing) (emphasis added).
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                                  13          Google is not entitled to summary judgment on their reasonable reliance argument because

                                  14   it is divorced from the legal standard for a UCL fraud claim. Even construing Google’s argument

                                  15   to be directed towards the correct standard, RMC’s proffered evidence indicates a genuine and

                                  16   robust dispute over the deceptiveness of the statement at issue here.

                                  17                  2.       Materiality

                                  18          In addition to its reasonable reliance argument, Google also contends that the Location

                                  19   Targeting claim fails because Plaintiffs cannot show the misrepresentations were material; that is,

                                  20   “RMC cannot show that it based its decision to sign up with AdWords, in whole or in part, on this

                                  21   alleged misrepresentation.” MSJ 20. Specifically, Google advances the notion that “[n]o

                                  22   reasonable advertiser would throw out more than 95% of its advertising campaign because of a

                                  23   purported issue with the remaining 5%.” Id. at 19. RMC rejects this argument as improperly

                                  24   contorting its claim, which, “rightfully framed, is that had it known that Google would charge for

                                  25   clicks from outside its four-state advertising zone, it would not have paid for those out-of-area

                                  26   clicks or at the very least would have paid far less for those clicks.” MSJ Opp. 22 (internal

                                  27   parenthesis omitted).

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                                   1          At the outset, the Court is not persuaded by Google’s suggestion that a failure to show

                                   2   materiality would preclude Plaintiffs’ UCL fraud claim. As noted above, all that is required for

                                   3   RMC to prevail on its UCL claim is that “members of the public are likely to be deceived” by the

                                   4   misrepresentation. Tobacco II, 46 Cal. 4th at 312. The California Supreme Court has indicated

                                   5   that materiality is relevant only insofar as it may give rise to a presumption of actual reliance by

                                   6   the named plaintiffs.11 Id. at 327; see also Engalla v. Permanente Med. Grp., Inc., 15 Cal. 4th

                                   7   951, 977 (1997) (holding that plaintiffs “need only make a showing that the misrepresentations

                                   8   were material, and that therefore a reasonable trier of fact could infer reliance from such

                                   9   misrepresentations, in order to survive this summary-judgment-like proceeding”). In other words,

                                  10   if a statement is sufficiently important (i.e., material), courts may assume or infer that a reasonable

                                  11   consumer would rely on that statement. However, it does not follow that materiality is an element

                                  12   of a UCL fraud claim—it is simply one method by which a plaintiff can satisfy actual reliance.
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                                  13   Google’s citation In re iPhone Application Litigation is inapposite. MSJ 19–20 (citing In re

                                  14   iPhone Application Litig., 6 F. Supp. 3d 1004 (N.D. Cal. 2013)). Nowhere in In re iPhone

                                  15   Application does Judge Koh suggest that a misrepresentation must cross some materiality

                                  16   threshold to survive summary judgment; indeed, materiality was asserted by plaintiffs in that case

                                  17   to support an inference of reliance. Id. at 1026. Although Judge Koh did comment that there was

                                  18   no evidence the plaintiff had “based her decision to obtain an iPhone, in whole or in part,” on the

                                  19   alleged misrepresentation, this remark was not referencing the materiality of the misrepresentation

                                  20   but rather the fact that the plaintiff had never seen the misrepresentation before obtaining her

                                  21   iPhone. Id. at 1021. Accordingly, to the extent Google suggests that a failure to show materiality

                                  22   would be fatal to RMC’s claim, that suggestion is not supported by California law.

                                  23          Even if the Court were to entertain Google’s materiality argument, Google focuses on

                                  24   incorrect measures of materiality. “A misrepresentation is judged to be ‘material’ if ‘a reasonable

                                  25

                                  26   11
                                          Notably, the California Supreme Court has interpreted the UCL statute to only “mean that
                                  27   named plaintiffs, but not absent ones, must show proof of ‘actual reliance’ at the certification
                                       stage.” Walker v. Life Ins. Co. of the Sw., 953 F.3d 624, 630 (9th Cir. 2020) (emphasis added).
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                                   1   man would attach importance to its existence or nonexistence in determining his choice of action

                                   2   in the transaction in question.” Tobacco II, 46 Cal. 4th at 327. Accordingly, a proper materiality

                                   3   assessment in this case should evaluate whether a reasonable advertiser would “attach importance”

                                   4   to Google’s representation that the selected cities and regions in the LT Settings Screen would be

                                   5   “where [the advertiser would] like [its] ad to appear.” MSJ Opp. 6. Google’s argument, however,

                                   6   misses the mark by focusing instead on after-the-fact data that only 5% of RMC’s clicks

                                   7   originated outside of its selected areas. MSJ 19–20. The inherent materiality of Google’s

                                   8   misrepresentations cannot turn on facts and data that are only available after a reasonable

                                   9   advertiser has decided to advertise with Google.

                                  10          The Court further notes that “materiality is generally a question of fact unless the ‘fact

                                  11   misrepresented is so obviously unimportant that the jury could not reasonably find that a

                                  12   reasonable man would have been influenced by it.’” Tobacco II, 46 Cal. 4th at 327 (emphasis
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                                  13   added). As with Google’s arguments regarding reasonable reliance, the Court finds that PRMC

                                  14   has presented sufficient evidence to create, at the least, genuine issues of fact as to whether the LT

                                  15   Settings Screen statement would be material to a reasonable advertiser. See supra Section III.B.1

                                  16   (citing evidence that advertisers were surprised by charges for out-of-area clicks).

                                  17          Accordingly, Google is not entitled to summary judgment based on materiality.

                                  18                  3.      Injury

                                  19          Finally, Google argues that summary judgment is warranted because RMC has received

                                  20   the “benefit of the bargain” and, therefore, has suffered no injury under the UCL. MSJ 20–21.

                                  21   Specifically, because the out-of-area clicks nonetheless account for a potential customer’s

                                  22   engagement with RMC’s advertisement, RMC has received what it paid for, i.e., “convert[ing] an

                                  23   impression—the consumer’s viewing of the ad—into a valuable interaction with the consumer.”

                                  24   Id. at 21. RMC again rejects Google’s characterization, asserting that it did not want out-of-area

                                  25   clicks when it agreed to advertise with Google and that it receives no benefit from engagement

                                  26   with out-of-area consumers. MSJ Opp. 23–24.

                                  27          Google’s “benefit of the bargain” argument has no support under California law. In

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                                   1   Kwikset Corp. v. Superior Ct., 51 Cal. 4th 310, 332 (2011), the California Supreme Court

                                   2   considered a similar “benefit of the bargain” theory where plaintiffs purchased locks advertised as

                                   3   “Made in U.S.A.” and received locks that were not made in the United States. Similar to Google’s

                                   4   contentions here, defendant Kwikset had argued that “consumers who receive a fully functioning

                                   5   product have received the benefit of their bargain, even if the product label contains

                                   6   misrepresentations that may have been relied upon by a particular class of consumers.” Id. The

                                   7   California Supreme Court rejected this argument, reasoning that “the observant Jew who

                                   8   purchases food represented to be, but not in fact, kosher; the Muslim who purchases food

                                   9   represented to be, but not in fact, halal; the parent who purchases food for his or her child

                                  10   represented to be, but not in fact, organic, has in each instance not received the benefit of his or

                                  11   her bargain.” Id. (emphasis added). Likewise, RMC—who paid for clicks represented to

                                  12   originate from Florida, Georgia, Louisiana, and North Carolina, but in fact originated from states
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                                  13   such as New York, Texas, and California—did not receive the benefit of its bargain and, therefore,

                                  14   suffered economic injury in the amount of the extra money it paid for those clicks. Id. at 330.

                                  15          Google again relies on inapposite California case law to support its theory. MSJ 21 (citing

                                  16   Animal Legal Def. Fund v. Mendes, 160 Cal. App. 4th 136 (2008)). In Animal Legal Defense

                                  17   Fund, the California Court of Appeal rejected a theory of injury from plaintiffs who purchased

                                  18   dairy products that they would otherwise not have purchased if they knew that some of the cows

                                  19   were raised in cruel conditions. Id. However, Animal Legal Defense Fund was a California Court

                                  20   of Appeal opinion that pre-dated the California Supreme Court’s decision in Kwikset; accordingly,

                                  21   to the extent that these two cases may be in tension with each other (the Court does not believe

                                  22   they are), the Court follows the state high court’s holding in Kwikset. Cf. Hinojos v. Kohl’s Corp.,

                                  23   718 F.3d 1098, 1107 (9th Cir. 2013) (noting that the “‘benefit of the bargain’ rationale was

                                  24   explicitly rejected in Kwikset”). More critically, the dairy advertising in Animal Legal Defense

                                  25   Fund did not contain any affirmative representations regarding the conditions in which it raised its

                                  26   cows and, therefore, those conditions could not be considered part of the purchase agreement. Id.

                                  27   at 146–47 (“Any assumptions regarding treatment of the dairies’ cows were not alleged to have

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                                   1   been expressed by the consumers to anyone, including the retailers, much less the dairy owners

                                   2   and their contractors.”). By contrast, Google affirmatively represented to its advertisers on the LT

                                   3   Settings Screen that the advertisers’ selected regions would be where their ads would appear.

                                   4   Google cannot now claim advertisers nonetheless received the “benefit of the bargain” when they

                                   5   paid for clicks from ads that were shown to users outside of their selected regions.

                                   6                                                    ***

                                   7          In sum, the Court finds that Google’s motion for summary judgment on RMC’s Location

                                   8   Targeting UCL claim is not meritorious. Google has challenged RMC’s evidence on elements that

                                   9   are largely not required under California law for UCL fraud claims, such as reasonable (as

                                  10   opposed to actual) reliance and materiality. In any event, the Court finds that RMC has identified

                                  11   genuine issues of fact and introduced sufficient evidence to survive summary judgment.

                                  12   Accordingly, Google’s motion for summary judgment on the Location Targeting UCL claim is
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                                  13   DENIED.

                                  14   IV.    GOOGLE’S MOTION TO STRIKE PLAINTIFFS’ EXPERT
                                  15          The Court has previously decided several Daubert motions in connection with class

                                  16   certification. It granted in part and denied in part Plaintiffs’ motions, striking the report of

                                  17   Professor Ronald Wilcox as untimely but refusing to strike the various expert reports and

                                  18   declarations of Dr. Lawrence Wu. ECF Nos. 654, 659. As for Google’s motion, the Court

                                  19   declined to strike the opinions of Saul Solomon regarding proposed damages models for Plaintiffs’

                                  20   Location Targeting claims, but it deferred ruling on Google’s objections to Dr. James L. Gibson

                                  21   and to Solomon’s opinions regarding proposed damages models for Plaintiffs’ Smart Pricing

                                  22   claims. ECF No. 661. The Court now decides those deferred issues.

                                  23          A.      Dr. James L. Gibson

                                  24          Google raises three objections to the opinions of Dr. Gibson: (1) he is not qualified to offer

                                  25   an expert opinion; (2) his methodology is unreliable; and (3) the sample he relies on to form his

                                  26   opinion is too small. MTS 6–11.

                                  27

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                                   1                   1.      Qualifications

                                   2           Google first argues that Dr. Gibson is unqualified to opine on the advertising data at issue

                                   3   because his expertise is in political science, not big data or e-commerce. MTS 6. Plaintiffs

                                   4   counter that Dr. Gibson has ample experience conducting empirical analyses of large datasets,

                                   5   enabling him to opine here even if his primary field of study is not in digital advertising. Pls.’

                                   6   Opp. to MTS (“MTS Opp.”) 4–5, ECF No. 455.

                                   7           Ninth Circuit precedent “contemplates a broad conception of expert qualifications.”

                                   8   Hangarter v. Provident Life Ins. & Accident Ins. Co., 373 F.3d 998, 1015 (9th Cir. 2004) (citation

                                   9   and internal quotation marks omitted). Heeding this principle, courts in this district have routinely

                                  10   held that an expert need not have the best qualifications in her field to survive a Daubert

                                  11   challenge. E.g., Zeiger v. WellPet LLC, 526 F. Supp. 3d 652, 669 (N.D. Cal. 2021) (“Daubert

                                  12   does not require that the expert with the best possible qualifications testify . . . .”); United States v.
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                                  13   Pac. Gas & Elec. Co., 2016 WL 3268994, at *2 (N.D. Cal. June 15, 2016) (“[E]xperts are not

                                  14   required to be the best or only individuals qualified in their fields.”); Regal Elecs., Inc. v. Pulse

                                  15   Eng'g, Inc., 2005 WL 6019703, at *2 (N.D. Cal. Nov. 14, 2005) (“It is not the province of the

                                  16   Court to select the best or most particularly qualified experts for the parties.”). They have also

                                  17   explained that “courts should not exclude expert testimony simply because . . . the proposed expert

                                  18   does not have the specialization that the court considers most appropriate.” In re Pac. Fertility

                                  19   Ctr. Litig., 2021 WL 842739, at *3 (N.D. Cal. Mar. 5, 2021) (quoting Schroeder v. Cnty. of San

                                  20   Bernardino, 2019 WL 3037923, at *3 (C.D. Cal. May 7, 2019). Thus, all Plaintiffs must do to

                                  21   qualify Dr. Gibson as an expert is to show that he has sufficient qualifications. Zeiger, 526 F.

                                  22   Supp. 3d at 669. The Court concludes that they have done so.

                                  23           Dr. Gibson has extensive experience with the empirical analysis of data. Throughout his

                                  24   career, he has published numerous books and articles based on empirical analysis, many of which

                                  25   were published in prominent political science journals. Mazzeo Decl., Ex. 23 (“7/9/15 Gibson

                                  26   Rep.”) ¶¶ 2-3 & Apps. A–B, ECF No. 424-31; Mustokoff Decl., Ex. 2 (“6/14/18 Gibson Decl.”) ¶¶

                                  27   2-4, ECF No. 454-8. He is also impeccably credentialed, having earned a PhD in political science,

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                                   1   received grants from the National Science Foundation for his empirical work, and won several

                                   2   awards for his political science research. 7/9/15 Gibson Rep. ¶ 3; 6/14/18 Gibson Decl. ¶ 3.

                                   3          Google does not directly challenge Dr. Gibson’s considerable background in empirical

                                   4   political science. Instead, it contends that Dr. Gibson’s political science credentials are not the

                                   5   right qualifications for this case. However, the fact that Dr. Gibson’s training and research are in

                                   6   political science does not prevent him from serving as an expert here. At core, the opinions

                                   7   provided by Dr. Gibson are simply about identification: identifying clicks that had not been Smart

                                   8   Priced, identifying types of clicks, and identifying clicks from outside of designated geographical

                                   9   areas. See 7/9/15 Gibson Rep. Navigating datasets to perform these tasks requires expertise in

                                  10   data analysis, something Dr. Gibson unquestionably possesses. But contrary to Google’s

                                  11   assertions, such identification does not require any specialized knowledge about e-commerce,

                                  12   especially since the identifying criteria were supplied by Google or derived from Plaintiffs’
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                                  13   theories of liability. Id. ¶¶ 17-19, 22, 25, 27, 32, 38, 42, 47, 49. While a data scientist with a

                                  14   background in e-commerce may or may not be more qualified to testify about the claims at issue

                                  15   than Dr. Gibson, the fact that a proposed expert may not have the most appropriate specialization

                                  16   is not grounds for exclusion. Pac. Fertility Ctr., 2021 WL 842739, at *3; see also Zeiger, 526 F.

                                  17   Supp. 3d at 669 (permitting an animal nutritionist to opine on safe levels of certain chemicals in

                                  18   pet food over objections that only a toxicologist would be qualified to opine).

                                  19          The suggestion that Dr. Gibson is unqualified because he lacks experience with big data

                                  20   similarly fails to persuade. Dr. Gibson has experience working with datasets containing millions

                                  21   of datapoints. Evans Decl., Ex. 1 (“3/5/18 Gibson Dep.”) at 182:10–183:2, ECF No. 441-2.

                                  22   Although the datasets at issue in this case are larger than the previous datasets he has worked with,

                                  23   Dr. Gibson explains that there are available tools that allow for the easy scaling of analyses from

                                  24   smaller datasets to very large ones. 6/14/18 Gibson Decl. ¶¶ 8–9.

                                  25          Google does not dispute Dr. Gibson’s prior experience, nor does it explain how larger

                                  26   datasets pose challenges that Dr. Gibson is supposedly incapable of handling. Rather, it points to

                                  27   two isolated passages from Dr. Gibson’s depositions, neither of which support its argument. In

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                                   1   the first passage, Google asked Dr. Gibson whether he considered himself to be “one of the

                                   2   leading experts in the analysis of big databases.” 3/5/18 Gibson Dep. at 143:8–9. Dr. Gibson

                                   3   responded that he did not, id. at 143:10, an answer which Google took to mean that he disclaimed

                                   4   any expertise in big data. MTS 6. But Dr. Gibson testified only that he was not a leading expert.

                                   5   He did not state that he had no expertise in large datasets, and the fact that he does not possess the

                                   6   best possible qualifications does not prevent the Court from admitting his expert opinions. See

                                   7   Zeiger, 526 F. Supp. 3d at 669.

                                   8          The second deposition passage demonstrates even less. There, Dr. Gibson explained how

                                   9   he would analyze an extremely large dataset of 500 billion clicks by using distributed computing

                                  10   and certain software tools. 3/5/18 Gibson Dep. at 129:2–131:19. From Google’s perspective, the

                                  11   response was too general and indicative of Dr. Gibson’s lack of expertise. MTS 7 (quoting 3/5/18

                                  12   Gibson Dep. at 130:3–131:15). The Court disagrees. It is true that Dr. Gibson could have
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                                  13   provided a more fulsome and detailed response. As he made clear though, he was answering “off

                                  14   the top of [his] head” and would need to “do a proper investigation to be able to really answer

                                  15   [the] question.” 3/5/18 Gibson Dep. at 130:15–20. The measure of Dr. Gibson’s qualifications is

                                  16   not the nimbleness with which he can answer a deposition question; it is the totality of his

                                  17   education, experiences, and accomplishments. When compared against the body of his research

                                  18   and credentials, the generality of Dr. Gibson’s extemporaneous response to a technical question

                                  19   carries little persuasive weight.

                                  20          In sum, the Court finds that Dr. Gibson is fully qualified to offer his expert opinions, and

                                  21   Google’s arguments do not convince the Court otherwise.

                                  22                  2.      Methodology

                                  23          Google also contends that Dr. Gibson failed to use a reliable methodology when forming

                                  24   his opinions. Specifically, it asserts: (1) that Dr. Gibson did not account for the strategic choices

                                  25   that advertisers could make on Google’s AdWords platform, rendering his identification of search

                                  26   bundled campaigns unreliable; (2) that Dr. Gibson’s method identifies (a) non-Smart Priced clicks

                                  27   without regard to whether they should have been Smart Priced, and (b) identifies AFMA and

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                                   1   mGDN clicks without determining whether the correct Smart Pricing multiplier was applied to

                                   2   those clicks; (3) that Dr. Gibson relied on other unsupported assumptions; and (4) that Dr.

                                   3   Gibson’s opinions should be excluded to the extent they are based on a data sample that Dr.

                                   4   Gibson heavily criticized.12 MTS 9–10. Plaintiffs respond that Dr. Gibson’s methodology is

                                   5   rooted in record evidence and their theory of liability in the case. MTS Opp. 9–10. They also

                                   6   argue that Dr. Gibson’s criticism of the representativeness of a data sample provided by Google

                                   7   does not undermine his opinions about whether putative class members can be identified using

                                   8   Google’s data. Id. The Court addresses each of Google’s methodology arguments in sequence.

                                   9          First, the Court finds that Dr. Gibson’s method for identifying search-bundled clicks is

                                  10   reliable because he expressly developed his method based on the deposition testimony of Google

                                  11   employees. 7/9/15 Gibson Rep. ¶¶ 22, 25, 27.

                                  12          Second, Dr. Gibson did not need to develop methods for identifying whether clicks should
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                                  13   have been Smart Priced or whether AFMA or mGDN clicks should have been Smart Priced at a

                                  14   different level. Despite Google framing the lack of such methods as an issue of reliability, its

                                  15   arguments are in fact disputes about the merits of Plaintiffs’ claims, i.e., whether and how

                                  16   Google’s contracts require Google to Smart Price clicks. If Google is correct, that would mean

                                  17   Plaintiffs’ theories of liability fail, not that Dr. Gibson’s methods are unreliable. Raising merits

                                  18   arguments in Daubert briefing is “wholly inappropriate,” and such arguments are not grounds for

                                  19   exclusion of expert testimony. Brown v. Google, LLC, 2022 WL 17961497, at *4 n.4 (N.D. Cal.

                                  20   Dec. 12, 2022). It is enough for purposes of Daubert that Dr. Gibson’s methodology is

                                  21   “consistent with plaintiffs’ class definition.” Id. at *5. Plaintiffs’ class definition sweeps in all

                                  22   non-Smart Priced clicks, and that is what Dr. Gibson’s methodology accomplishes. See CC Mot.

                                  23   16. Likewise, Dr. Gibsons methodology accords with Plaintiffs’ definition of AFMA and mGDN

                                  24   clicks. Compare 7/9/15 Gibson Rep. ¶¶ 38–41 (AFMA click methodology) and ¶¶ 42–45 (mGDN

                                  25

                                  26   12
                                         Google also argues that Dr. Gibson’s approach is not a common methodology but instead
                                       requires repeated individual analyses. MTS 10. Such argument goes to the substance of class
                                  27   certification requirements and have no bearing on the reliability of Dr. Gibson’s methods.
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                                   1   click methodology), with CC Mot. 7–8, 16 (class definition for AFMA and mGDN clicks).

                                   2   Whether or not Dr. Gibson’s opinions will ultimately support class certification, the fact that Dr.

                                   3   Gibson’s methodology tracks with Plaintiffs’ class definitions is sufficient for his opinions to

                                   4   survive Google’s Daubert challenge to his methodology.

                                   5          Third, Dr. Gibson’s opinions are not based on unsupported assumptions. Google takes

                                   6   issue with his purported assumption at deposition that Google’s databases contain a variable

                                   7   specifying whether an advertiser turned on the Autobid feature in the AdWords platform. MTS 8.

                                   8   Yet, Google does not identify any point in Dr. Gibson’s reports or declarations where he relies on

                                   9   that assumption to form his opinions, and to the extent Dr. Gibson sought to account for Autobid

                                  10   in his analysis, he did so by looking to advertisers’ change history logs in accordance with

                                  11   testimony from Google employees. 7/9/15 Gibson Rep. ¶¶ 22–24. An assumption that is not

                                  12   relied upon by Dr. Gibson is plainly not a ground for excluding his opinions. In any case,
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                                  13   “arguments that [an expert] based on his opinions on an improper assumption go to the weight, not

                                  14   the admissibility of the testimony.” Perez v. Rash Curtis & Assocs., 2019 WL 1491694, at *3

                                  15   (N.D. Cal. Apr. 4, 2019).

                                  16          Lastly, Dr. Gibson’s criticisms of data samples that Google created do not make his

                                  17   opinions unreliable to the extent that he bases his opinions on those samples. Dr. Gibson

                                  18   criticized the construction and representativeness of Google’s data samples. Mustokoff Decl., Ex.

                                  19   3 (“12/20/18 Gibson Decl.”) ¶¶ 23–24, ECF No. 454-9. His opinions, though, relate to whether

                                  20   the underlying data stored by Google could be used to identify putative class members without

                                  21   individualized analysis. Those opinions concern the nature of the data held by Google and are

                                  22   separate and apart from Dr. Gibson’s critiques about how Google used the data to create samples.

                                  23   Thus, Dr. Gibson’s critiques of Google’s data samples do not undermine his opinions.

                                  24                  3.      Sample Size

                                  25          As a final argument, Google asserts that the data samples that Dr. Gibson relied on were

                                  26   too small, claiming that he reviewed only the advertising click data for Cabrera and former

                                  27   plaintiff Woods. MTS 11. However, Google is factually mistaken. Dr. Gibson also reviewed

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                                   1   data from over 400 million clicks that Google had sampled, confirming the conclusions that he

                                   2   drew from Cabrera’s and Woods’ data. 3/15/18 Gibson Dep. at 112:24–113:14. These millions of

                                   3   clicks are a sufficient sample size to support Dr. Gibson’s opinions.

                                   4                                                   ***

                                   5           To conclude, the Court finds that Dr. Gibson is qualified under Daubert and has formed

                                   6   his opinions based on sufficient facts and reliable methods. The Court therefore DENIES

                                   7   Google’s motion to strike Dr. Gibson’s reports.

                                   8          B.      Saul Solomon

                                   9          Google advances a litany of objections against Solomon’s Smart Pricing opinions, but

                                  10   those challenges can be distilled down to two points: (1) that Solomon’s proposed damages model

                                  11   improperly calculates damages based on the cost of clicks rather than accounting for the dynamics

                                  12   of AdWords auctions; and (2) that Solomon considered only a small sample of data—the clicks for
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                                  13   Woods and Cabrera—without testing his methodology on any other class members. MTS 12–16,

                                  14   23–24. Plaintiffs reply that Solomon’s approach is consistent with Google’s external

                                  15   representations and internal calculations, and that damages need only be a reasonable

                                  16   approximation based on the best evidence available. MTS Opp. 11–16. They also argue that

                                  17   Google’s sample size objections ring hollow because Solomon relied on Dr. Gibson’s analysis of

                                  18   the 400 million clicks from Google’s data samples. Id. at 18.

                                  19          The Court begins by observing that Google’s argument about the importance of auction

                                  20   dynamics is, once again, a dispute about the merits of Plaintiffs’ claims. Plaintiffs’ theory of

                                  21   liability is that Smart Pricing should have been applied to the post-auction cost of a click. See

                                  22   MTS Opp. 12–13; FAC ¶¶ 26–29, 31 (allegations that Smart Pricing applies to the final cost or

                                  23   price of a click); Evans Decl., Ex. 11 (“7/10/15 Solomon Rep.”) at 9–12, ECF No. 441-10

                                  24   (discussing public statements by Google that describe Smart Pricing as applying to the final price

                                  25   or cost of a click). Google may disagree with Plaintiffs’ theory of liability, but that does not make

                                  26   Solomon’s opinions unreliable. For Solomon’s opinions to survive Google’s objection, they need

                                  27   only be consistent with Plaintiffs’ theory. Brown, 2022 WL 17961497, at *5. That is the case

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                                   1   here, where Solomon’s “overcharge” model calculates damages by applying click cost multipliers

                                   2   to the final click costs.13 7/10/15 Solomon Rep. at 29–34.

                                   3          As for Google’s second objection, the Court has previously rejected that argument in its

                                   4   order regarding Solomon’s Location Targeting opinions. 9/26/22 Order 6, ECF No. 661.

                                   5   Google’s argument is no more persuasive in the Smart Pricing context, and the Court rejects it for

                                   6   the same reasons articulated in its prior order. Solomon relies on the opinions of Dr. Gibson, who

                                   7   analyzed large data samples, and Solomon is not required to perform full calculations of class-

                                   8   wide damages at this stage. Id. That is enough to satisfy Daubert.

                                   9          The Court DENIES Google’s motion to strike Solomon’s Smart Pricing opinions.

                                  10   V.     PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                  11          A.      Smart Pricing Class

                                  12          Plaintiffs proposed the following definition for the Smart Pricing Class:
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                                  13                  All persons and entities located within the United States who,
                                                      between August 22, 2006 and February 20, 2013, advertised through
                                  14                  Google’s AdWords program and paid for clicks on their Google
                                                      AdWords advertisement(s), where such clicks were not Smart Priced
                                  15                  because they (1) originated from a property on Google’s Display
                                                      Network and Google applied no Smart Pricing measurement, or (2)
                                  16                  were AFMA Clicks, Search Bundled Clicks, or mGDN Clicks.
                                  17   CC Mot. 16 & n.4. In turn, Plaintiffs define the named clicks, as follows:

                                  18                  AFMA Clicks: “[C]licks on ads from mobile applications on the
                                                      Display Network for which a click cost multiplier greater than 0.08
                                  19                  was applied, between August 22, 2006 and February 20, 2013.”
                                  20                  Search Bundled Clicks: “[C]licks on ads on the Display Network
                                                      where the advertiser’s settings allowed its ads to show on both the
                                  21                  Search and Display Networks and did not set a Display Network bid
                                                      different from the Search Network bid, between June 1, 2009 and
                                  22                  December 13, 2012.”
                                  23                  mGDN Clicks: “[C]licks on ads on properties of a desktop publisher
                                                      (i.e., desktop websites) on the Display Network from high end mobile
                                  24                  devices (e.g., smart phones or tablets), between August 22, 2006 and
                                                      November 6, 2011.”
                                  25

                                  26
                                       13
                                          Google does not challenge Solomon’s alternate model of Smart Pricing damages, which he
                                  27   terms as “net profits.”
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                                   1   CC Mot. 7–8.

                                   2          While Plaintiffs present the Smart Pricing Class as a single, uniform class, each of the four

                                   3   different categories of clicks—(1) Non-Smart Priced Clicks, (2) AFMA Clicks, (3) Search

                                   4   Bundled Clicks, and (4) mGDN Clicks—reflect different theories of liability based on different

                                   5   factual arguments. As such, the Court treats the Smart Pricing Class as four subclasses, referring

                                   6   to them as the “Non-Smart Priced Clicks Subclass,” the “AFMA Clicks Subclass,” the “Search

                                   7   Bundled Clicks Subclass,” and the “mGDN Clicks Subclass.” Where the criteria for class

                                   8   certification can be analyzed consistently across all four subclasses, the Court will not distinguish

                                   9   between them in its discussion below. But where there are relevant differences for class

                                  10   certification, the Court will specify which subclass it is analyzing.

                                  11                  1.      Rule 23(a) Requirements

                                  12                          a.      Numerosity
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                                  13          Plaintiffs have shown that their proposed class meets the numerosity requirement.

                                  14   Although there is no exact numerical cut-off for when a proposed class is “so numerous that

                                  15   joinder of all the class members is impracticable,” courts often will presume that this requirement

                                  16   is satisfied when the class exceeds forty members. Fed. R. Civ. P.23(a)(1); see, e.g., Arroyo v.

                                  17   Int’l Paper Co., 2019 WL 1508457, at *2 (N.D. Cal. Apr. 4, 2019). In this case, Google has

                                  18   admitted that there are more than 50 AdWords advertisers falling in each of the four subclasses.

                                  19   Mazzeo Decl., Ex. 36 at 17, ECF No. 426-37 (Request for Admission Nos. 1–4). As such,

                                  20   Plaintiffs have established numerosity.

                                  21                          b.      Commonality

                                  22          The Court finds that Plaintiffs have demonstrated commonality as well. Commonality

                                  23   requires there to be “questions of law or fact common to the class.” Fed. R. Civ. P. 23(a)(2). A

                                  24   common question is one that “is capable of classwide resolution,” meaning that answering the

                                  25   question “will resolve an issue that is central to the validity of each one of the claims in one

                                  26   stroke.” Wal-Mart, 564 U.S. at 350. The key factor is whether the common question generates

                                  27   “common answers.” Id. However, Plaintiffs need not show that all questions are common; they

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                                   1   need only identify a “single significant question of law or fact.” Stockwell v. City & Cnty. of San

                                   2   Francisco, 749 F.3d 1107, 1111 (9th Cir. 2014).

                                   3          Here, Plaintiffs propose that the interpretation of the AdWords Agreement is a common

                                   4   question because it is a form contract that bound all putative class members during the class

                                   5   period. CC Mot. 19. Google does not directly contest commonality, but in its arguments against

                                   6   predominance, it contends that interpreting the AdWords Agreement does not present a common

                                   7   question because the endeavor requires extrinsic evidence, and such extrinsic evidence is not

                                   8   common to the class. CC Opp. 10. In its view, although Plaintiffs’ proffered extrinsic evidence

                                   9   consists of public statements, each putative class member would have been exposed to different

                                  10   statements. Id. at 12–13. As a consequence, it would be necessary to conduct individualized

                                  11   investigations to determine which pieces of extrinsic information each putative class member did

                                  12   or did not view. Id.
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                                  13          While Google’s argument might hold merit in the context of bargained-for contracts, when

                                  14   interpreting standardized form contracts like the AdWords Agreement, the subjective

                                  15   understanding of the signatories is not a factor. Contrary to Google’s assertion that Plaintiffs’

                                  16   breach of contract claim requires numerous individual determinations, it is an “axiom of contract

                                  17   law[] that when there is a standardized agreement like the form contract at issue in this case, the

                                  18   agreement is interpreted wherever reasonable as treating alike all those similarly situated, without

                                  19   regard to their knowledge or understanding of the standard terms of the writing.” Williams v.

                                  20   Apple, Inc., 338 F.R.D. 629, 638 (N.D. Cal. 2021) (alteration in original) (internal quotations

                                  21   omitted) (quoting Bally v. State Farm Life Ins. Co., 335 F.R.D. 288, 302 (N.D. Cal. 2020)).

                                  22   Indeed, California courts have long recognized this axiom and have adopted an objective standard

                                  23   for interpreting form contracts. Rather than inquiring into a party’s mindset or knowledge, “courts

                                  24   interpret form contracts to mean what a reasonable buyer would expect them to mean.” Emps.

                                  25   Cas. Ins. Co. v. Foust, 29 Cal. App. 3d 382, 386 (1972); see also Gray v. Zurich Ins. Co., 65 Cal.

                                  26   2d 263, 271 (1966) (similar). The Restatement, a source “entitled to great consideration as an

                                  27   argumentative authority” under California law, Lake Almanor Associates, 178 Cal. App. 4th at

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                                   1   1200 (citation omitted), says much the same. It provides that standardized agreements should be

                                   2   “interpreted wherever reasonable as treating alike all those similarly situated, without regard to

                                   3   their knowledge or understanding of the standard terms of the writing.” Restatement (Second) of

                                   4   Contracts § 211(2). And it also directs courts to apply an objective standard by “seek[ing] to

                                   5   effectuate the reasonable expectations of the average member of the public” when construing and

                                   6   applying a standardized contract. Id. § 211 cmt. e (emphasis added). It is for these reasons that

                                   7   “claims arising from interpretations of a form contract appear to present the classic case for

                                   8   treatment as a class action.” Kleiner v. First Nat’l Bank of Atl., 97 F.R.D. 683, 691 (N.D. Cal.

                                   9   1983); see also McGhee v. Bank of Am., 60 Cal. App. 3d 442, 449 (1976) (“Controversies

                                  10   involving widely used contracts of adhesion present ideal cases for class adjudication . . . .”).

                                  11          Despite these well-established maxims, determining how to interpret the AdWords

                                  12   Agreement is complicated by the fact that the Court previously found the relevant clause of the
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                                  13   AdWords Agreement to be ambiguous, 8/24/12 Order 14, making it necessary to consider

                                  14   extrinsic evidence. Brown v. Goldstein, 34 Cal. App. 5th 418, 432 (2019) (“Extrinsic evidence is

                                  15   admissible . . . to interpret an agreement when a material term is ambiguous.”) (citation omitted).

                                  16   That is so because the usual approach to interpreting an ambiguous clause with extrinsic evidence

                                  17   is to evaluate how that evidence bears on “the parties’ understanding and [the] intended meaning

                                  18   of the words used in their written agreement.” In re Facebook PPC Advertising Litig., 709 F.

                                  19   Supp. 2d 762, 769 (N.D. Cal. 2010) (quoting Brawthen v. H & R Block, Inc., 28 Cal. App. 3d 131,

                                  20   136 (1972)) (emphasis removed). This subjective approach is in tension with the objective

                                  21   approach typically used to interpret form contracts.

                                  22          Google suggests that the differing approaches can be reconciled by recognizing that they

                                  23   are deployed in different scenarios. It submits that, if a contract term is not ambiguous, the

                                  24   objective approach applies because no extrinsic evidence is needed, and the term can be

                                  25   interpreted from the lens of a reasonable person. But if the term is ambiguous and extrinsic

                                  26   evidence is necessary, Google maintains that courts must use extrinsic evidence to probe the

                                  27   signatories’ subjective understandings, and that, in turn, requires individual investigation into what

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                                   1   extrinsic information a person was exposed to. CC Opp. 12.

                                   2          Google’s position finds some support in the case law. For example, in Monaco v. Bear

                                   3   Stearns Co., 2012 WL 10006987, at *7–8 (C.D. Cal. Dec. 10, 2012), the court found that

                                   4   interpretation of a form contract could not be resolved on a classwide basis. Acknowledging the

                                   5   plaintiffs’ argument that form contracts normally should be uniformly interpreted, Monaco

                                   6   concluded that such interpretive rule did not apply when the relevant terms of the form contract

                                   7   were ambiguous and required reference to extrinsic evidence of intent. Id. at *6–7. Likewise,

                                   8   Abbit v. ING USA Annuity, 2015 WL 7272220, at *9 (S.D. Cal. Nov. 16, 2015), held that

                                   9   interpretation of standard contract language could not be answered with common evidence when it

                                  10   “require[d] extrinsic evidence and individualized determinations as to [class members’]

                                  11   knowledge and understanding of this contract language.” Google’s out-of-circuit authority lends

                                  12   support as well. See Krueger v. Nw. Mut. Life Ins. Co., 2011 WL 2938273, at *6 (N.D. Fla. July
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                                  13   21, 2011) (“Even the most common of contractual questions-those arising, for example, from the

                                  14   alleged breach of a form contract do not guarantee predominance if individualized extrinsic

                                  15   evidence bears heavily on the interpretation of the class members’ agreements.”) (citation

                                  16   omitted); Adams v. Kansas City Life Ins. Co., 192 F.R.D. 274, 282 (W.D. Mo. 2000) (“By

                                  17   allowing extrinsic evidence of the parties’ dealings, the breach of contract claims become

                                  18   individualized and not reasonably susceptible to class action treatment.”).

                                  19          Other courts, however, have reached the opposite conclusion. In Rodman v. Safeway, Inc.

                                  20   (Rodman I), 2014 WL 988992, at *8 (N.D. Cal. Mar. 10, 2014), the court concluded that, even

                                  21   though it did not find the contract at issue to be ambiguous, if it needed to consider extrinsic

                                  22   evidence to resolve ambiguity, it could do so “without endangering predominance.” The court in

                                  23   Vedachalam v. Tata Consultancy Servs., Ltd., 2012 WL 1110004, at *15 (N.D. Cal. Apr. 2, 2012),

                                  24   considered the question even more directly, explaining that extrinsic evidence “[is] susceptible to

                                  25   proof on a class-wide basis.” There, the extrinsic evidence consisted of common documents that

                                  26   some class members signed but others did not. Id. Nonetheless, and consistent with the

                                  27   admonition not to consider a party’s knowledge or understanding when interpreting a form

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                                   1   contract, the fact that class members interacted with the extrinsic evidence differently did not

                                   2   defeat class certification. And in Menagerie Productions v. Citysearch, 2009 WL 3770668, at *10

                                   3   (C.D. Cal. Nov. 9, 2009), the court determined that a form contract could be interpreted on a

                                   4   classwide basis if the relevant extrinsic evidence, “such as representations on [a defendant’s]

                                   5   website,” were also available on a classwide basis.

                                   6          The upshot of the Court’s survey is that there is no clear answer as to whether courts

                                   7   interpreting form contracts with the assistance of extrinsic evidence must necessarily make

                                   8   individualized determinations about what extrinsic evidence a particular party knew or was

                                   9   exposed to. On balance, though, the Court agrees with those decisions holding that individualized

                                  10   determinations are not necessarily required. Courts have consistently and unequivocally stated

                                  11   that form contracts should be interpreted without regard for an individual party’s knowledge. See,

                                  12   e.g., Williams, 338 F.R.D. at 638; Gray, 65 Cal. 2d at 271. In doing so, they have not indicated
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                                  13   that there is an exception when extrinsic evidence is considered. To ask about whether a class

                                  14   member read or was exposed to a particular piece of extrinsic evidence, then, would run counter to

                                  15   this well-established canon of construction. See Restatement (Second) of Contracts § 211 cmt. b

                                  16   (noting that customers signing form contracts are bound to the contracts’ terms even though they

                                  17   “do not in fact ordinarily understand or even read the standard terms”) (emphasis added).

                                  18          In fact, a careful reading of Google’s case law to the contrary reveals that they are

                                  19   consistent with this approach. The Restatement explains that form contracts should be interpreted

                                  20   uniformly for all those “similarly situated.” Restatement (Second) of Contracts § 211(2).

                                  21   However, in Monaco, different class members were told different information about their loan

                                  22   agreements by different brokers employed by the defendant. 2012 WL 10006987, at *6. So too in

                                  23   the remainder of Google’s authorities. See Abbit, 2015 WL 7272220, at *2 (“[A]nnuities [were]

                                  24   sold by a variety of individuals and organizations, including independent agents, retail broker-

                                  25   dealers, marketing organizations, and banks.”); Kreuger, 2011 WL 2938273, at *5 (“[C]lass

                                  26   members purchased annuities from various sales agents across the country.”); Adams, 192 F.R.D.

                                  27   at 278–79 (noting that the insurance policies at issue were sold over the course of “hundreds of

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                                   1   individual meetings between agents and customers” where the agents “did not utilize a uniform

                                   2   sales script” and instead varied their presentations “depending on the particular concerns

                                   3   expressed by particular customers”). Thus, in the cases cited by Google, the circumstances of

                                   4   contract formation differed from class member to class member, rendering them differently

                                   5   situated. Put another way, the very universe of extrinsic evidence available differed from class

                                   6   member to class member because the representations made by one agent to one class member

                                   7   would not have been available to any other class member. That scenario is in marked contrast to

                                   8   the facts in this case, where the same universe of extrinsic evidence—publicly available

                                   9   documents and statements from Google’s website (see FAC, Exs. B–G; Mazzeo Decl., Exs. 8, 10–

                                  10   11, ECF Nos. 426-9, -11 to -1214)—was available to all putative class members. Indeed, it is on

                                  11   this basis that the Ninth Circuit affirmed certification in Rodman, because “[n]one of the offered

                                  12   extrinsic evidence . . . went to individual conversations and representations made to individual
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                                  13   class members.”15 Rodman v. Safeway (Rodman II), 694 F. App’x 612, 614 (9th Cir. 2017).

                                  14          In conclusion, the Court finds that interpretation of the AdWords Agreement presents

                                  15   common questions. The Agreement may be interpreted without individualized inquiry into

                                  16   extrinsic evidence by considering how a reasonable person, standing in the shoes of an advertiser,

                                  17   would interpret the Agreement given the extrinsic evidence available to her.

                                  18                         c.      Typicality

                                  19          To satisfy Rule 23’s typicality requirement, class representatives must show that their

                                  20   claims are “reasonably coextensive with those of absent class members,” though their claims

                                  21   “need not be substantially identical.” Just Film, Inc. v. Buono, 847 F.3d 1108, 1116 (9th Cir.

                                  22
                                       14
                                  23      Exhibit 11 to the Mazzeo Declaration appears to be the same document as Exhibit 63 to the
                                       Kaplan Declaration. Like with Exhibit 63, the Court here considers only those excerpts of Exhibit
                                  24   11 for which URLs are given. See supra note 4.
                                       15
                                          Google briefly argues that the circumstances of contract formation did differ between class
                                  25   members because some would have relied on advertising agencies. CC Opp. 12–13; Suppl. CC
                                       Opp. 20. However, for the reasons the Court discusses in addressing the same argument in the
                                  26   context of the Location Targeting Class, the Court finds that Google has failed to substantiate its
                                       argument with appropriate evidence. See infra Section V.B.2.a.iii. This argument is therefore not
                                  27   a basis for denying class certification.
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                                   1   2017). But when “there is a danger that absent class members will suffer [because] their

                                   2   representative is preoccupied with defenses unique to it,” a class representative is not typical.

                                   3   Hanon v. Dataprods. Corp., 976 F.2d 497, 508 (9th Cir. 1992) (citation omitted).

                                   4          The Court finds that Plaintiffs’ Smart Pricing claims are reasonably coextensive with those

                                   5   of absent class members. Their claims, like the claims of all class members, arise from the same

                                   6   contract (the AdWords Agreement) and the same conduct by Google (alleged failure to properly

                                   7   Smart Price). Google suggests that Cabrera’s claim is dissimilar to those of class members

                                   8   because Cabrera did not rely on any extrinsic evidence before signing the AdWords Agreement

                                   9   while some class members did rely on such evidence. CC Opp. 22. But as discussed in its

                                  10   commonality analysis, the Court already concluded that interpretation of a form contract like the

                                  11   AdWords Agreement does not depend on individual knowledge or reliance, so it rejects Google’s

                                  12   typicality argument here on the same grounds.
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                                  13          Google also contends that Cabrera is atypical since he is subject to unique defenses.

                                  14   However, none of those potential defenses threatens to preoccupy Cabrera to the detriment of the

                                  15   class. Google first asserts that Cabrera lacks Article III standing to assert his Smart Pricing claim.

                                  16   CC Opp. 21. While this may have been a colorable argument when Google filed its opposition,

                                  17   the Ninth Circuit has since ruled that Cabrera has standing, so it is no longer a live issue in this

                                  18   matter. See 1/4/21 Ninth Cir. Mem. Second, Google reiterates its summary judgment argument

                                  19   that Cabrera has not suffered actual damage as required by California contract law. CC Opp. 22.

                                  20   As the Court explained when addressing this argument in the context of summary judgment,

                                  21   California law permits Cabrera, the promisee of the AdWords Agreement, to sue for damages

                                  22   suffered by RMC, the third-party beneficiary, under certain circumstances. Supra Section III.A.2.

                                  23   Although his right to do so depends on whether RMC is a creditor or donee beneficiary, the record

                                  24   is devoid of any evidence that RMC is a donee beneficiary such that Cabrera cannot sue for

                                  25   RMC’s damages. To defeat typicality, Google “must show some degree of likelihood a unique

                                  26   defense will play a significant role at trial.” In re Sony Vaio Computer Notebook Trackpad Litig.,

                                  27   2013 WL 12116137, at *11 (S.D. Cal. Sept. 25, 2013) (quoting Beck v. Maximus, Inc., 457 F.3d

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                                   1   291, 300 (3d Cir. 2006)). It is not enough to argue that there might be a colorable unique defense

                                   2   against Cabrera when Google has offered no evidence supporting that defense. Thus, the Court

                                   3   cannot conclude that either of the purported unique defenses threatens to occupy Cabrera to such

                                   4   an extent that he would be atypical of the class.

                                   5           Google also makes a final argument, this time with respect to both Cabrera and RMC, that

                                   6   variations in sophistication between advertisers preclude a finding of typicality. Suppl. CC Opp.

                                   7   24. This argument is properly addressed as a challenge to predominance, so it does not defeat

                                   8   typicality.

                                   9           Therefore, the Court finds that Plaintiffs are typical of the Smart Pricing Class.

                                  10                          d.      Adequacy

                                  11           Rule 23(a)’s final requirement seeks to ensure that the class representative would “fairly

                                  12   and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). “To determine whether
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                                  13   the representation meets this standard, we ask two questions: (1) Do the representative plaintiffs

                                  14   and their counsel have any conflicts of interest with other class members, and (2) will the

                                  15   representative plaintiffs and their counsel prosecute the action vigorously on behalf of the class?”

                                  16   Staton v. Boeing Co., 327 F.3d 938, 957 (9th Cir. 2003).

                                  17           Google does not argue that either RMC or Cabrera have a conflict of interest with other

                                  18   class members, nor does it cast any doubt that Plaintiffs and Plaintiffs’ counsel would prosecute

                                  19   the action vigorously on behalf of the class. Rather, Google argues that Plaintiffs are inadequate

                                  20   representatives because they purportedly destroyed evidence and made false testimony. Suppl. CC

                                  21   Opp. 4–7. Google points to deleted text messages between Cabrera and the successor of his

                                  22   previous company, Martin Peen, as well as Cabrera’s testimony regarding his online advertising

                                  23   expertise and sophistication. Id. The Court addresses each in turn.16

                                  24           Spoliation: Google first addresses the deletion of text messages between Cabrera and

                                  25   Peen in which Peen declined Cabrera’s request to assist in the litigation. Suppl. CC Opp. 4–5.

                                  26
                                       16
                                  27     Google does not challenge the adequacy of proposed class counsel, and the Court finds that
                                       counsel is adequate.
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                                   1   These communications, Google contends, support the argument that Cabrera is not an adequate

                                   2   representative. Id. The Court disagrees. It finds that Google’s spoliation contentions are not

                                   3   likely to play a significant role at trial, so they do not render Plaintiffs inadequate.

                                   4           Although the Court does not have the benefit of full briefing on a spoliation motion and

                                   5   does not now issue any opinion on spoliation, it is at least satisfied that “the relative strength of the

                                   6   [spoliation] argument demonstrates that [it] will not play a significant role at trial such that it

                                   7   precludes certification.” Brust v. Regents of the Univ. of Cal., 2008 WL 11512299, at *6 (E.D.

                                   8   Cal. Oct. 24, 2008). In particular, sanctions for spoliation may not issue unless “a reasonable trier

                                   9   of fact could find that the destroyed evidence was relevant.” In re Arris Cable Modem Consumer

                                  10   Litig., 327 F.R.D. 334, 357 (N.D. Cal. 2018). Here, however, the deleted communications with

                                  11   Peen appear to have minimal relevance on the litigation, given that Peen had never used AdWords,

                                  12   would not be a class member, and ultimately agreed to assign Training Option’s claim to Cabrera.
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                                  13   Silverman Decl., Ex. 7 (“Peen Dep.”) 113:7–114:7.

                                  14           Google’s cited case authorities do not otherwise convince the Court that the spoliation

                                  15   issues raised here are substantial enough to disqualify Plaintiffs from serving as representatives.

                                  16   Even though courts have occasionally denied certification where class representatives faced

                                  17   spoliation allegations, the lost evidence in those cases were central to the plaintiffs’ claims and

                                  18   often involved tangible and irreplaceable objects. See, e.g., Victorino v. FCA US LLC, 2018 WL

                                  19   2455432, at *8 (S.D. Cal. June 1, 2018) (finding plaintiff inadequate where spoliated evidence

                                  20   included cylinders and a connecting hose from the allegedly defective vehicle); Arris, 327 F.R.D.

                                  21   at 358 (finding plaintiff inadequate where he had lost the allegedly defective modem at issue in the

                                  22   case). Nor is Google’s citation to Akaosugi v. Benihana Nat. Corp., 282 F.R.D. 241 (N.D. Cal.

                                  23   2012) any more persuasive. Suppl. CC Opp. 5. In Akaosugi, Judge Alsup found a named plaintiff

                                  24   to be inadequate where the plaintiff had wiped 6,500 documents from a USB drive before

                                  25   production, previously copied company records without authorization, and subsequently attempted

                                  26   to conceal his wrongdoing. 282 F.R.D. at 257. As discussed above, the purportedly spoliated

                                  27   communications here fall short of the misconduct in Akaosugi, both in terms of culpability and

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                                   1   relevance to Plaintiffs’ claims.

                                   2           Accordingly, the Court finds Cabrera and RMC to be adequate class representatives,

                                   3   notwithstanding Google’s spoliation allegations. Google submits only that the allegedly spoliated

                                   4   evidence is relevant to show Peen’s impressions of Plaintiffs’ claims, an issue that is unlikely to

                                   5   play a significant enough role at trial to call into question Cabrera’s adequacy as representative.

                                   6           Credibility: Next, Google argues that Cabrera would be an inadequate representative

                                   7   because he has allegedly made false or misleading statements about his internet marketing and

                                   8   coaching expertise. Specifically, Google claims that he advertised himself as a “marketing

                                   9   genius” and “business coach” but testified in deposition that he was only “average” in marketing.

                                  10   Suppl. CC Opp. 6–7. In response, Plaintiffs have supplied further context for those remarks, such

                                  11   as by explaining that the purported statements were puffery made by Cabrera’s business partner,

                                  12   not Cabrera. Suppl. CC Reply 4.
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                                  13           It is true that credibility may be a “relevant consideration with respect to the adequacy

                                  14   analysis,” but credibility issues will only risk defeating certification if the issues are “so sharp as

                                  15   to jeopardize the interests of absent class members” and are “directly relevant to the litigation.”

                                  16   Nevarez v. Forty Niners Football Co., LLC, 326 F.R.D. 562, 583 (N.D. Cal. 2018). Here,

                                  17   Cabrera’s personal advertising sophistication—credible or not—is not directly relevant to the

                                  18   central issues of this litigation, either for the contract or the UCL claim. As such, Cabrera’s

                                  19   adequacy is not impacted by Google’s purported credibility concerns.

                                  20                                                     ***

                                  21           To conclude, the Court holds that Plaintiffs have demonstrated that the Smart Pricing Class

                                  22   meets Rule 23(a)’s requirements. The Smart Pricing Class is numerous, at least one common

                                  23   question applies, Plaintiffs are typical, and Plaintiffs and their counsel are adequate

                                  24   representatives.

                                  25                   2.      Rule 23(b)(3) Requirements

                                  26           In addition to demonstrating that the Smart Pricing Class satisfies the four requirements of

                                  27   Rule 23(a), Plaintiffs must also show that one of the three grounds under Rule 23(b) applies.

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                                   1   Plaintiffs move to certify the Smart Pricing Class under Rule 23(b)(3), so they must demonstrate

                                   2   that (1) “questions of law or fact common to class members predominate over any questions

                                   3   affecting only individual members,” and (2) “that a class action is superior to other available

                                   4   methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

                                   5                          a.      Predominance

                                   6          The predominance requirement “asks whether the common, aggregation-enabling, issues in

                                   7   the case are more prevalent or important than the non-common, aggregation-defeating, individual

                                   8   issues.” Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016) (internal quotation marks

                                   9   and citation omitted). This inquiry “tests whether proposed classes are sufficiently cohesive to

                                  10   warrant adjudication by representation.” Id. (quoting Amchem Prods., Inc. v. Windsor, 521 U.S.

                                  11   591, 623 (1997)). “Predominance is not, however, a matter of nose-counting.” Ruiz Torres v.

                                  12   Mercer Canyons Inc., 835 F.3d 1125, 1134 (9th Cir. 2016) (citation omitted). More important
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                                  13   questions will be given correspondingly more weight in the predominance analysis over

                                  14   individualized questions that are less significant to the class claims. Id. In fact, “even if just one

                                  15   common question predominates, ‘the action may be considered proper under Rule 23(b)(3) even

                                  16   though other important matters will have to be tried separately.’” In re Hyundai & Kia Fuel Econ.

                                  17   Litig., 926 F.3d 539, 557 (9th Cir. 2019) (quoting Tyson Foods, 577 U.S. at 453).

                                  18          Google argues that individualized issues predominate over common questions for three

                                  19   reasons: (1) interpretation of the AdWords Agreement requires extrinsic evidence that varies

                                  20   between class members; (2) determining injury requires individualized inquiry; and (3) variations

                                  21   in advertiser sophistication create individual questions. The Court addresses each in turn.

                                  22                                  i.      Use of Extrinsic Evidence

                                  23          Google argues that interpretation of the AdWords Agreement requires individualized

                                  24   inquiries into the extrinsic evidence that any given advertiser was exposed to. CC Opp. 10–15.

                                  25   The Court already dealt with this argument in its analysis of commonality, and for the same

                                  26   reasons the Court found interpretation of the AdWords Agreement to be a common question, it

                                  27   also finds that individual issues surrounding the use of extrinsic evidence do not predominate. See

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                                   1   supra Section V.A.1.b.

                                   2                                  ii.     Auction Dynamics

                                   3          Similar to a line of reasoning it presented in summary judgment, Google asserts that Smart

                                   4   Pricing properly applies to bids rather than to post-auction click costs. CC Opp. 17–18. This, it

                                   5   contends, means that evaluating injury17 entails individualized analysis of auction dynamics. Id.

                                   6   Plaintiffs reply that there is no need to delve into auction dynamics because their theory of liability

                                   7   is that the AdWords Agreement required Google to apply Smart Pricing to post-auction costs, so

                                   8   no inquiry into auction dynamics is necessary. CC Reply 6–7.

                                   9          As a threshold matter, the Court observes that the parties’ dispute over the relevance of

                                  10   individual auction dynamics reflects a fundamental disagreement about the correct interpretation

                                  11   of the AdWords Agreement. Plaintiffs insist that the AdWords Agreement should be interpreted

                                  12   to mandate the Smart Pricing of post-auction costs. See FAC ¶¶ 26–29, 31; 7/10/15 Solomon Rep.
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                                  13   at 9–12. While Google does not explicitly dispute Plaintiffs’ interpretation in its argument about

                                  14   auction dynamics, its assertion that Smart Pricing only applies to bids cannot hold true unless the

                                  15   Court ultimately rejects Plaintiffs’ interpretation. Thus, to the extent that Google has identified

                                  16   individualized questions of injury defeating predominance, those questions arise only if Plaintiffs’

                                  17   fail on their legal theory regarding the interpretation of the AdWords Agreement. By contrast, if

                                  18   Plaintiffs prevail on their legal theory, auction dynamics become immaterial to injury because

                                  19   injury would depend only on whether and by how much the post-auction cost had been

                                  20   discounted. In other words, Google’s asserted individual inquiries are contingent on a question of

                                  21   law and have force only if Plaintiffs do not succeed in proving their contract interpretation.

                                  22          The Ninth Circuit, however, has squarely rejected such contingent theories on class

                                  23   certification. In United Steel Workers International Union v. ConocoPhillips Co., 593 F.3d 802

                                  24
                                       17
                                  25     In Olean, 31 F.4th at 669, the Ninth Circuit held that a class may be certified even if it
                                       “potentially includes more than a de minimis number of uninjured class members.” In so holding,
                                  26   the Olean court rejected a per se rule against certifying a class if it contains more than a de
                                       minimis number of uninjured class members, but affirmed that district courts retain discretion to
                                  27   decline certification on a case-by-case basis if individualized questions about injury predominate
                                       over common questions. Id. 669 & n.13.
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                                   1   (9th Cir. 2010), the Ninth Circuit reviewed a district court order denying class certification in a

                                   2   wage and hour dispute. The district court had concluded that plaintiffs failed to show

                                   3   predominance, reasoning that, “if Plaintiffs’ ‘on duty’ theory of liability fails, then common

                                   4   questions will no longer predominate over individual ones.” Id. at 804, 807. The Ninth Circuit

                                   5   held that this was an abuse of discretion. Id. at 809. It explained that Rule 23 does not “give[] a

                                   6   court any authority to conduct a preliminary inquiry into the merits of a suit” and that “[n]either

                                   7   the possibility that a plaintiff will be unable to prove his allegations, nor the possibility that the

                                   8   later course of the suit might unforeseeably prove the original decision to certify the class wrong,

                                   9   is a basis for declining to certify a class.” Id. at 808–09 (first quoting Eisen v. Carlisle &

                                  10   Jaquelin, 417 U.S. 156, 177–78 (1974); and then quoting Blackie v. Barrack, 524 F.3d 891, 901

                                  11   (9th Cir. 1975)); see also Amgen, 568 U.S. at 466 (“Rule 23 grants courts no license to engage in

                                  12   free-ranging merits inquiries at the certification stage.”). According to the Ninth Circuit, by
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                                  13   crediting the contingent argument that individualized questions would predominate if the

                                  14   plaintiffs’ legal theory failed, the district court improperly judged the merits of the case.

                                  15   ConocoPhillips, 593 F.3d at 809. Put more generally, “[w]hat a district court may not do is to

                                  16   assume, arguendo, that problems will arise, and decline to certify the class on the basis of a mere

                                  17   potentiality that may or may not be realized.” Id. at 810. Instead, the proper approach is to accept

                                  18   a plaintiff’s theory of relief for purposes of class certification, Keegan v. Am. Honda Motor Co.,

                                  19   284 F.R.D. 504, 530 (C.D. Cal. 2012) (citing ConocoPhillips, 593 F.3d at 808), so long as the

                                  20   plaintiff offers “sufficient information to form a reasonable judgment” that the theory is viable.

                                  21   ConocoPhillips, 593 F.3d at 810 (citation omitted); see also Wal-Mart, 564 U.S. at 351 (observing

                                  22   that “rigorous analysis” of Rule 23 may “entail some overlap with the merits of the plaintiff’s

                                  23   underlying claim”). Should the “potentiality” of individualized problems be realized later, the

                                  24   Court can then address those problems via a motion to decertify. ConocoPhillips, 593 F.3d at 809.

                                  25           Applying ConocoPhillips, the Court rejects Google’s auction dynamics argument.

                                  26   Plaintiffs have put forth evidence supporting their position that the AdWords Agreement requires

                                  27   Google to Smart Price the post-auction cost of a click. Mazzeo Decl., Ex. 11; 7/10/15 Solomon

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                                   1   Rep. at 9–15. This information is sufficient for the Court to form a reasonable judgment that

                                   2   Plaintiffs’ theory is viable. Supra Section III.A.1 (discussing the same evidence). Consequently,

                                   3   the Court must credit Plaintiffs’ interpretation for purposes of class certification. As the Court

                                   4   explained above, the dynamics of any given auction need not be considered under Plaintiffs’

                                   5   theory, so individualized inquiries into those dynamics will not predominate.

                                   6                                  iii.    Return on Investment

                                   7          Google also suggests that an advertiser is not injured if she receives a good return on

                                   8   investment (“ROI”) from a click even if Google failed to apply any Smart Pricing discount. CC

                                   9   Opp. 17, 19. And because any analysis of ROI necessitates individual inquiry, it argues,

                                  10   individual questions predominate. Id.

                                  11          In support, Google points to evidence that non-Smart Priced clicks resulted in higher ROIs

                                  12   than Smart Priced clicks on average. Id. at 18–19 (citing 3/20/18 Wu Decl. ¶¶ 52, 60). But the
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                                  13   price an advertiser pays for a click, i.e. the source of the advertiser’s injury, is independent of the

                                  14   ROI the advertiser receives for any particular click. If an advertiser pays 50 cents for a click and

                                  15   receives a return worth one dollar, she would still receive one dollar’s worth of return, regardless

                                  16   of whether she paid 50 cents or something less for the click. As this example illustrates, an

                                  17   advertiser is injured when she does not receive a discount because she pays more for the same

                                  18   return than she would have otherwise; the magnitude of the return is not relevant. And in any

                                  19   case, events that occur after an advertiser pays for a click—i.e., the ROI that she receives—are not

                                  20   germane to the injury inquiry because “the injury, for standing purposes, is the breach [of contract]

                                  21   itself.” In re Google Referrer Header Privacy Litig., 465 F. Supp. 3d 999, 1011 (N.D. Cal. 2020)

                                  22   (quoting Alston v. Flagstar Bank, FSB, 609 F. App’x 2, 3 (D.C. Cir. 2015)).

                                  23          As such, the Court concludes that individualized inquiries about ROI will not predominate.

                                  24                                  iv.     Determining the Correct Level of Smart Pricing

                                  25          Google next argues that Plaintiffs have failed to provide a classwide method for identifying

                                  26   the correct level of Smart Pricing that should have been applied to a click, or for identifying

                                  27   whether Smart Pricing should have been applied at all. CC Opp. 18–20; Suppl. CC Opp. 22–23.

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                                   1   As a consequence, it says, individualized inquiries will be necessary to identify whether a class

                                   2   member was injured by a click because that click did not receive the correct discount, or because

                                   3   the click was not Smart Priced but should have been.18 Because the issue of the correct level of

                                   4   Smart Pricing varies as to each subclass, the Court treats each separately below.

                                   5          Non-Smart Priced Clicks Subclass: Google asserts that Plaintiffs cannot determine

                                   6   whether a click that was not Smart Priced should have received a Smart Pricing discount. CC

                                   7   Opp. 18. In its view, Smart Pricing applies only to clicks for which an advertiser has (1) not

                                   8   selected certain bidding strategies and (2) that are less likely to result in a conversion, but

                                   9   Plaintiffs have not explained how they would identify clicks according to those two criteria. Id. at

                                  10   18. Plaintiffs respond that Smart Pricing applies to post-auction click costs rather than bids, CC

                                  11   Reply 6–7, but did not otherwise address the two criteria that Google identified.

                                  12          To begin, the Court can quickly dispose of the argument that Plaintiffs must account for
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                                  13   advertisers’ bidding strategies. Nowhere do Plaintiffs argue that the AdWords Agreement limits

                                  14   Smart Pricing to only certain bidding strategies, and any argument that runs counter to Plaintiffs’

                                  15   theory of legal liability cannot defeat class certification. See ConocoPhillips, 593 F.3d at 808–10.

                                  16          The second half of Google’s argument, however, has merit. Plaintiffs have consistently

                                  17   represented and argued that Smart Pricing does not apply to all clicks indiscriminately but is

                                  18   instead limited to clicks that are less likely to result in a conversion than a click on the Search

                                  19   Network (google.com and other search sites powered by Google). Compl. ¶¶ 25–26 & n.9; CC

                                  20   Mot. 4–5 (arguing and citing evidence showing that Smart Pricing applies to clicks that are less

                                  21   likely to convert than those on the Search Network). The Ninth Circuit, too, has explained that

                                  22   Smart Pricing is calculated by comparing the “the conversion rate for [a] lower-quality website

                                  23   [with] the conversion rate for the same ad on google.com.” Pulaski & Middleman, LLC v. Google,

                                  24

                                  25   18
                                          Google also briefly argues that these purported issues run afoul of Comcast Corp. v. Behrend,
                                  26   569 U.S. 27, 35 (2013), which requires that a damages model “measure only those damages
                                       attributable to [a plaintiff’s] theory.” CC Opp. 19–20. However, the Court finds that Google’s
                                  27   arguments are more properly characterized as raising questions about injury than as raising a
                                       mismatch between Plaintiffs’ theory of liability and damages model.
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                                   1   Inc., 802 F.3d 979, 982 (9th Cir. 2015). As a result, even applying Plaintiffs’ theory of liability as

                                   2   ConocoPhillips requires, Plaintiffs may not simply assume that every non-Smart Priced click

                                   3   represents a breach. They must be able to identify whether clicks convert less than the

                                   4   advertisements on the Search Network, because it is only those clicks that must be Smart Priced.

                                   5          Although Plaintiffs have provided a method for identifying the set of clicks that were not

                                   6   Smart Priced, they have not offered any systematic method for identifying which of those clicks

                                   7   should have been Smart Priced. In the absence of such a method, the Court cannot be confident

                                   8   that common questions predominate,19 or if the only way to identify clicks that should have been

                                   9   Smart Priced is to conduct extensive individualized inquiries. As a consequence, the Court finds

                                  10   that Plaintiffs have not carried their burden to show predominance as to the Non-Smart Priced

                                  11   Clicks Subclass.

                                  12          AFMA Clicks Subclass: Google argues that there is no single multiplier that can
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                                  13   appropriately be applied category-wide to all AFMA Clicks. CC Opp. 19. According to Google,

                                  14   multipliers are uniquely determined based on a variety of factors, including characteristics of the

                                  15   advertiser, advertisement, and web property on which the advertisement appears. Id. (citing

                                  16   3/20/18 Wu Decl. ¶ 72). Plaintiffs disagree, maintaining that multipliers are set at the web-

                                  17   property level and do not require analysis of individual advertisers or advertisements. Suppl. CC

                                  18   Reply 14–15. They also assert that they have evidence showing 0.08 is the correct multiplier

                                  19
                                       19
                                  20      Indeed, Plaintiffs have offered very little detail about the data Google keeps and whether that
                                       data could answer these questions. Plaintiffs’ choice to use click cost multipliers to calculate
                                  21   Smart Pricing damages implies that, at some level, those multipliers carry information about the
                                       likelihood of conversion because the amount of the discount should be tied to the likelihood of
                                  22   conversion. See supra Section III.A.3. But Plaintiffs’ experts work with several different
                                       multipliers—“Impression Click Cost Multipliers,” “Query Click Cost Multipliers,” “Raw Bid
                                  23   Multipliers,” “Production Bid Multipliers,” and “Manual Bid Multipliers”—without ever
                                       explaining how those multipliers differ or how Google calculates those multipliers. See 7/9/15
                                  24   Gibson Rep., App. E at 3, 10–11. And their experts also appear to use click cost multipliers and
                                       bid multipliers interchangeably, again with little explanation for how those multipliers are derived
                                  25   and what they mean. 7/10/15 Solomon Rep. at 31–32.
                                       Moreover, one way that Plaintiffs identify Non-Smart Priced Clicks is by looking for clicks where
                                  26   the click cost multiplier is missing. 7/9/15 Gibson Rep. ¶ 34. So even if multipliers do carry
                                       information on the likelihood of conversion, it is not clear how one could determine if a click with
                                  27   a missing multiplier would be less likely to convert.
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                                   1   across the entire category of AFMA Clicks. CC Mot. 7–8; see also 7/9/15 Gibson Rep. ¶ 38

                                   2   (using the 0.08 multiplier as a criterion for identifying actionable clicks). To support their use of

                                   3   the 0.08 multiplier, they cite two emails in which Google employees estimate that the default

                                   4   multiplier for such clicks could be as low as 0.08. Mazzeo Decl., Ex. 32, ECF No. 424-41;

                                   5   Mazzeo Decl., Ex. 33, ECF No. 424-42; see also 7/10/15 Solomon Rep. at 33 & n.112 (observing

                                   6   that 0.08 is a default multiplier). Google responds that a default multiplier is used only in the first

                                   7   few weeks of an advertisement’s publication and therefore cannot be used to measure injury across

                                   8   the entire category of AFMA Clicks. Suppl. CC Opp. 22 (citing Mazzeo Decl., Ex. 32).

                                   9          The Court agrees with Google. One of the two emails cited by Plaintiffs makes clear that

                                  10   0.08 was a default multiplier value, and only a potential value at that. Mazzeo Decl., Ex. 32.

                                  11   Further, the email explains that a default multiplier is temporary—used for an advertisement’s first

                                  12   four weeks unless a lack of web traffic causes that advertisement to stay in the default state for a
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                                  13   longer time—and does not apply “for the lifetime of the property.” Id. This illustrates that, far

                                  14   from acting as a standard barometer for evaluating all AFMA Clicks, the 0.08 multiplier is an

                                  15   interim designation in place for the brief period after an advertisement’s initial publication.

                                  16          Plaintiffs point to no evidence that default multipliers apply past the default period and can

                                  17   be used throughout the entire lifetime of an advertisement. Instead, they suggest that if 0.08 is the

                                  18   incorrect multiplier, they can simply substitute 0.08 with some other number derived from

                                  19   discovery. 7/10/15 Solomon Rep. at 33. But this misunderstands the problem. The obstacle to

                                  20   class certification is not the value of the multiplier being used to determine injury. Rather, the

                                  21   obstacle is that Plaintiffs have not submitted evidence showing that there even exists a common

                                  22   multiplier that applies across the entire subclass. And they have not offered any other method for

                                  23   systematically determining the proper Smart Pricing multiplier for AFMA Clicks. Without being

                                  24   presented with such a method or with a common multiplier, the Court cannot conclude that

                                  25   common issues predominate. Accordingly, Plaintiffs have failed to meet their burden to show

                                  26
                                  27

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                                   1   predominance as to the AFMA Clicks Subclass.20

                                   2          The Court observes that Plaintiffs may be able certify a narrower subclass limited to

                                   3   AFMA Clicks within the default period, but because denial of class certification is without

                                   4   prejudice, the Court will not modify the class definition in the first instance.

                                   5          Search Bundled Clicks Subclass: In contrast to their theory regarding AFMA Clicks,

                                   6   Plaintiffs contend that every Search Bundled Click—i.e., Display Network clicks on

                                   7   advertisements shown on both the Display and Search Networks for which an advertiser did not

                                   8   set different bids for each network—was uniformly overpriced by 6%. CC Mot. 8; see also

                                   9   Mazzeo Decl., Ex. 35, ECF No. 424-44 (internal Google email noting that Google was applying a

                                  10   6% increase to all multipliers for Search Bundled Clicks); Mazzeo Decl., Ex. 38, ECF No. 424-48

                                  11   (internal Google email stating that the 6% multiplicative factor was “likely not the correct

                                  12   value[]”). If Plaintiffs are correct, then every Search Bundled Click would represent an injury
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                                  13   because every such click would be overpriced. That being the case, there would be no need for

                                  14   individualized questions about injury, so such questions do not predominate as to the Search

                                  15   Bundled Clicks Subclass.

                                  16          mGDN Clicks Subclass: For mGDN Clicks, Plaintiffs assert that advertisers were injured

                                  17   whenever Google used a Smart Price multiplier greater than 0.42. CC Mot. 8; CC Reply 5–6.

                                  18   Once again, though, Plaintiffs have relied on a default multiplier to identify injury. Mazzeo Decl.,

                                  19   Ex. 78, ECF No. 456-8 (the 0.42 multiplier is a default value used in an internal Google

                                  20   experiment); 7/10/15 Solomon Rep. at 33 & n.114 (acknowledging that 0.42 is a default

                                  21   multiplier). The use of a default multiplier here generates the same obstacles (for the same

                                  22   reasons) as for the AFMA Clicks Subclass. As a result, Plaintiffs have not met their burden to

                                  23   show predominance for the mGDN Clicks Subclass. Similar to the AFMA Clicks Subclass,

                                  24   Plaintiffs may be able to narrow this subclass to include only clicks within the default period, but

                                  25
                                       20
                                  26     The Court notes that the parties also dispute whether multipliers are calculated at the web-
                                       property or the advertisement level. However, even if Plaintiffs were correct that multipliers are
                                  27   calculated at the web-property level, that would not resolve the problem of identifying the correct
                                       multiplier once the default state expires.
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                                   1   the Court does not modify the class definition here.

                                   2                                  v.      Variations in Advertiser Sophistication

                                   3          Google’s last argument against predominance is that differences in the sophistication of

                                   4   advertisers create individualized issues. Suppl. CC Opp. 23–24. They contend that the most

                                   5   sophisticated advertisers frequently update their bid settings, thereby reducing the harm they suffer

                                   6   from misapplications of Smart Pricing. Id. What Google has just described is how sophisticated

                                   7   advertisers may more effectively mitigate their damages than less sophisticated ones. But that

                                   8   does not defeat predominance because “[d]amages calculations alone . . . cannot defeat

                                   9   certification.” Pulaski, 802 F.3d at 988 (alteration in original) (citation omitted).

                                  10                          b.      Superiority

                                  11          Finally, Plaintiffs must show that “a class action is superior to other available methods for

                                  12   fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). This requirement
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                                  13   tests whether “classwide litigation of common issues will reduce litigation costs and promote

                                  14   greater efficiency.” Valentino v. Carter–Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996). In

                                  15   making that determination, courts should consider the factors enumerated in Rule 23: “(A) the

                                  16   class members’ interests in individually controlling the prosecution or defense of separate actions;

                                  17   (B) the extent and nature of any litigation concerning the controversy already begun by or against

                                  18   class members; (C) the desirability or undesirability of concentrating the litigation of the claims in

                                  19   the particular forum; and (D) the likely difficulties in managing a class action.” Fed. R. Civ. P.

                                  20   23(b)(3).

                                  21          Google does not contest this requirement, and the Court finds that Plaintiffs have shown a

                                  22   class action is superior to individual actions. Plaintiffs’ expert calculated that former plaintiff

                                  23   Woods would be entitled to only a few hundred dollars for his Smart Pricing claim, and Cabrera

                                  24   would be entitled to less than ten dollars for the same claims. 7/10/15 Solomon Rep. at 37

                                  25   (Woods’ damages); 11/8/2018 Suppl. Solomon Rep. at 4–5, ECF No. 424-86 (Cabrera’s

                                  26   damages). The low potential damages are far outweighed by the high costs of litigation in a case

                                  27   like this, so it is clear that class members do not have sufficient incentive to pursue individual

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                                   1   litigation. See Vizcarra v. Unilever U.S., Inc., 339 F.R.D. 530, 556 (N.D. Cal. 2021). For such

                                   2   negative value suits, “a class action is the only realistic possibility for redress.” Hamilton v. Wal-

                                   3   Mart Stores, Inc., 39 F.4th 575, 588 n.6 (9th Cir. 2022).

                                   4                                                    ***

                                   5          To summarize, the Court finds that Plaintiffs have satisfied the requirements of Rules 23(a)

                                   6   and 23(b)(3) as to the Search Bundled Clicks Subclass and therefore GRANTS certification of that

                                   7   subclass. But, while Plaintiffs have satisfied Rule 23(a) and the superiority requirement of Rule

                                   8   23(b)(3) as to the Non-Smart Priced Clicks, AFMA Clicks, and mGDN Clicks Subclasses, they

                                   9   have failed to demonstrate that common questions predominate. The Court therefore DENIES

                                  10   certification of those three subclasses.

                                  11          B.      Location Targeting Class

                                  12          Plaintiffs have defined the Location Targeting Class as follows:
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                                  13                  All persons and entities located within the United States who,
                                                      between January 1, 2004 and March 22, 2011, advertised through
                                  14                  Google’s AdWords program and paid for clicks on their Google
                                                      AdWords advertisement(s), where such clicks did not originate from
                                  15                  the location selected by the advertiser.
                                  16   CC Mot. 16.

                                  17                  1.      Rule 23(a) Requirements

                                  18                          a.      Numerosity

                                  19          Rule 23(a)(1)’s numerosity requirement is plainly satisfied here. Generally, courts will

                                  20   find the requirement to be satisfied when a proposed class exceed forty members. See, e.g.,

                                  21   Arroyo, 2019 WL 1508457, at *2. With respect to the Location Targeting claim, Google has

                                  22   admitted that “more than 50 AdWords Advertisers used Location Targeting and paid for clicks on

                                  23   Ads appearing to Internet users physically located outside of the AdWords Advertisers’ Targeted

                                  24   Locations.” Decl. Margaret E. Mazzeo (“Mazzeo Decl.”), Ex. 36 at 17 (Request for Admission

                                  25   No. 5). Accordingly, numerosity is satisfied.

                                  26                          b.      Commonality

                                  27          The proposed Location Targeting Class also meets the commonality requirement of Rule

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                                   1   23(a)(2). To satisfy this element, the claims of the proposed class “must depend upon a common

                                   2   contention . . . of such a nature that it is capable of classwide resolution—which means that

                                   3   determination of its truth or falsity will resolve an issue that is central to the validity of each one of

                                   4   the claims in one stroke.” Wal-Mart, 564 U.S. at 350. Even a “single significant question of law

                                   5   or fact” will satisfy the commonality requirement. Stockwell, 749 F.3d at 1111.

                                   6           For the Location Targeting Class, Plaintiffs have identified the common question as

                                   7   “whether Google’s statements on the Settings Screen were ‘likely to deceive’ an AdWords

                                   8   advertiser into believing that Google would only charge for clicks on ads that originated from

                                   9   users physically located within the advertiser’s selected location.” CC Mot. 19–20. This question

                                  10   encapsulates the UCL’s “likely to deceive” liability inquiry, which is assessed under the objective

                                  11   “reasonable consumer” standard and supported by statements viewed by all class members. Id.;

                                  12   see also supra Section III.B. Google does not directly dispute the existence of a common
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                                  13   question, though it does argue that individual inquiries outweigh any such common questions. See

                                  14   CC Opp. 22–32. Accordingly, the Court finds that Rule 23(a)’s commonality requirement is

                                  15   satisfied because there exists at least one significant question that will resolve issues common to

                                  16   all Location Targeting claims.

                                  17                           c.      Typicality

                                  18           “Typicality focuses on the class representative’s claim—but not the specific facts from

                                  19   which the claim arose—and ensures that the interests of the class representative align with the

                                  20   interests of the class.” Stiner v. Brookdale Senior Living, Inc., 2023 WL 2722294, at *27 (N.D.

                                  21   Cal. Mar. 30, 2023) (citing Just Film, 847 F.3d at 1116). Rule 23(a)(3) requires only that the class

                                  22   representative’s claims be “reasonably coextensive with those of absent class members; they need

                                  23   not be substantially identical.” Just Film, 847 F.3d at 1116.

                                  24           The Court finds that RMC demonstrated that its claims are reasonably coextensive with,

                                  25   and its interests are aligned with, those of absent class members. The Location Targeting claim

                                  26   arises from substantially identical statements that all AdWords advertisers were exposed to when

                                  27   they set up their campaigns on the AdWords interface. See CC Mot. 11 (citing Mazzeo Decl., Ex.

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                                   1   44 (“Tang Dep.”) at 189:18–191:2, ECF No. 424-54; Ex. 45, ECF No. 424-55 (“In what

                                   2   geographical locations do you want your ads to appear?”); Ex. 47 at 7, ECF No. 424-57

                                   3   (“Highlight the cities and regions on the left where you’d like your ad to appear.”)). RMC’s UCL

                                   4   claim is, therefore, coextensive with those of absent class members who had also specified certain

                                   5   locations to target but paid for clicks from users outside of those locations.

                                   6          Google argues that RMC is not typical of the class “due to variations in [advertiser]

                                   7   sophistication.” Suppl. CC Opp. 19. In support, Google cites evidence that some advertisers were

                                   8   “obviously orders of magnitude larger and more experienced than Cabrera” and who “vary in their

                                   9   use of external support and sources of information.” Id. at 10–11. However, this suggestion—that

                                  10   RMC is atypical because more sophisticated class members would not have been deceived—flies

                                  11   in the face of the UCL’s objective “reasonable consumer” standard, as well as the UCL’s broad

                                  12   purpose to protect consumers from unfair business practices. See Pulaski, 802 F.3d at 985;
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                                  13   Tobacco II, 46 Cal. 4th at 320 (“[R]elief under the UCL is available without individualized proof

                                  14   of deception, reliance and injury.”); Nilon v. Nat.-Immunogenics Corp., 2014 WL 12570897, at *5

                                  15   (S.D. Cal. Apr. 15, 2014) (rejecting UCL defendant’s argument that “many factors and variables

                                  16   will influence each putative class member’s decision” because “[i]n determining whether

                                  17   typicality is met, the focus should be on the defendants’ conduct and the plaintiffs’ legal theory,

                                  18   not the injury caused to the plaintiff”). Accordingly, Google’s typicality argument regarding

                                  19   advertiser sophistication can be readily rejected under the UCL case law.21

                                  20          Google also briefly recycles its standing argument as a typicality argument, contending

                                  21   that RMC is an atypical class member because it received the benefit of the challenged conduct

                                  22   and therefore suffered no injury. Suppl. CC Opp. 19. However, as the Court determined above at

                                  23

                                  24   21
                                         Similarly, Google’s secondary argument—that Plaintiffs’ purportedly idiosyncratic “aversion to
                                       conversions coming from out-of-area users interested in his services” would render them atypical
                                  25   (CC Opp. 32)—has been rejected in this Circuit. Courts have recognized that “individual
                                       experience with a product is irrelevant because the injury under the UCL . . . is established by an
                                  26   objective test.” Astiana v. Kashi Co., 291 F.R.D. 493, 502 (S.D. Cal. 2013) (finding typicality
                                       satisfied where class representatives had different perceptions, knowledge, preferences, and
                                  27   reasons for purchasing the defendant’s products) (internal quotation marks omitted).
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                                   1   Section III.B.3, Google’s “benefit of the bargain” theory is not persuasive.

                                   2          In sum, the Court finds that RMC has satisfied Rule 23(a)’s typicality requirement.

                                   3                          d.      Adequate Representation

                                   4          Google raises the same arguments against adequacy that the Court already rejected in its

                                   5   analysis of the Smart Pricing Class. Supra Section V.A.1.d. The Court therefore finds that RMC

                                   6   is also adequate to serve as the class representative for the Location Targeting Class, and that

                                   7   proposed class counsel are adequate as well.

                                   8                                                    ***

                                   9          Based on the foregoing reasons, the Court is satisfied that Plaintiffs have met their burden

                                  10   on the Rule 23(a) requirements. The Court finds that Location Targeting Class is sufficiently

                                  11   numerous, there is at least one common question of law or fact, RMC is typical, and both RMC

                                  12   and its counsel will fairly and adequately protect the interests of the class.
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                                  13                  2.      Rule 23(b)(3) Requirements

                                  14          As Plaintiffs seek to certify the Location Targeting Class under Rule 23(b)(3), they must

                                  15   show that (1) questions of law or fact common to class members predominate over any questions

                                  16   affecting only individual members; and (2) a class action is superior to other available methods for

                                  17   fairly and efficiently adjudicating the controversy. Fed. R. Civ. P. 23(b)(3).

                                  18                          a.      Predominance

                                  19          “The predominance inquiry is mainly concerned with ‘the balance between individual and

                                  20   common issues.’” In re Hyundai & Kia, 926 F.3d at 560. However, this inquiry is not simply a

                                  21   “matter of nose-counting.” Ruiz Torres, 835 F.3d at 1134. Greater weight is given to more

                                  22   important questions such that a class may be certified even if only a single but critical common

                                  23   question predominates. In re Hyundai & Kia, 926 F.3d at 557.

                                  24          To assess whether common questions predominate over individual ones, the Court begins

                                  25   by considering the questions common to the class. The Court has already found—and Google

                                  26   does not dispute—that RMC has at minimum satisfied Rule 23(a)’s commonality requirement by

                                  27   identifying a question common to all class members: “whether Google’s statements on the

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                                   1   Settings Screen were ‘likely to deceive’ an AdWords advertiser into believing that Google would

                                   2   only charge for clicks on ads that originated from users physically located within the advertiser’s

                                   3   selected location.” CC Mot. 19–20; see also supra Section V.B.1.b. Because the UCL does not

                                   4   call for individualized determinations, the key question of UCL liability would be the same for all

                                   5   class members and be susceptible to common proof. See, e.g., Tobacco II, 46 Cal. 4th at 312;

                                   6   Arris, 327 F.R.D. at 365 (concluding that UCL fraud claim was susceptible to classwide proof).

                                   7          Given these characteristics of the UCL statute, many courts have unsurprisingly remarked

                                   8   that UCL claims are “ideal for class certification because they will not require the court to

                                   9   investigate class members’ individual interaction with the product.” Bradach v. Pharmavite, LLC,

                                  10   735 F. App’x 251, 255 (9th Cir. 2018) (quoting Tait v. BSH Home Appliances Corp., 289 F.R.D.

                                  11   466, 480 (C.D. Cal. 2012)); see also Gold v. Lumber Liquidators, Inc., 323 F.R.D. 280, 290 (N.D.

                                  12   Cal. 2017) (noting that the UCL is “particularly amenable to class certification”); Bailey v. Rite
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                                  13   Aid Corp., 338 F.R.D. 390, 407 (N.D. Cal. 2021) (“Courts routinely hold that if a plaintiff shows

                                  14   by a preponderance of the evidence that the questions of materiality and likelihood of deception

                                  15   can be resolved with common evidence based on the objective reasonable consumer standard, then

                                  16   common questions predominate over individual ones with respect to claims under the UCL,

                                  17   CLRA, and FAL.”) (emphasis added).

                                  18          In short, the common question RMC has identified is an important question—if not the

                                  19   most important—relating to the UCL fraud claim and is “apt to drive the resolution of the

                                  20   litigation.” Ruiz Torres, 835 F.3d at 1134. Therefore, Google faces a considerable burden to

                                  21   identify sufficient individualized inquiries that would undermine the predominance of a common

                                  22   question that is so central to the UCL class claim. To that end, Google advances several varieties

                                  23   of individualized inquiries in its initial and supplementary oppositions. Specifically, it contends

                                  24   that individualized inquiries exist as to (1) class members’ injuries, CC Opp. 22–27, Suppl. CC

                                  25   Opp. 11–17; (2) the materiality of the “area-of-interest targeting” feature, CC Opp. 27–28; (3)

                                  26   whether certain class members were exposed to and relied on the Location Targeting statements

                                  27   on the AdWords Settings Screen, CC Opp. 29–32, Suppl. CC Opp. 8–11; and (4) choice of law,

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                                   1   CC Opp. 32–33. It also asserts that (5) RMC’s damages models run afoul of Comcast, 569 U.S.

                                   2   27. The Court addresses each in sequence.

                                   3                                 i.      Injury

                                   4          First, Google argues that—assuming “[w]hat advertisers care about are results, not

                                   5   necessarily where someone interested in their products or services may be located”—certain

                                   6   advertisers may not have been injured at all and may have even benefited from out-of-area clicks.

                                   7   CC Opp. 23. In support, Google proffers representative sample evidence that, in the aggregate,

                                   8   out-of-area clicks typically converted at a rate higher than in-area clicks. Id. To the extent Google

                                   9   is re-asserting the substance of its argument on summary judgment that class members received

                                  10   the “benefit of the bargain,” the Court has explained above that this theory is not supported under

                                  11   California law. See supra Section III.B.3 (citing Kwikset, 51 Cal. 4th at 332).

                                  12          Google attempts to recast its previous injury argument by repeatedly emphasizing that the
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                                  13   unwanted product here (out-of-area ads) was not valueless and may even have performed better

                                  14   than what class members actually selected (in-area ads). See generally CC Opp. 24–27 (citing

                                  15   purported benefits in distinguishing Lambert v. Nutraceutical Corp., 870 F.3d 1170 (9th Cir.

                                  16   2017); then distinguishing Pulaski, 802 F.3d at 989; and then distinguishing Arris, 327 F.R.D. at

                                  17   334). This, however, is a distinction without a difference. The California Supreme Court noted in

                                  18   Kwikset that, “to an observant Jew who keeps kosher, [non-kosher meat] would be worthless.” 51

                                  19   Cal. 4th at 330. This observation would remain unchanged even if the non-kosher meat was

                                  20   nutritionally or culinarily superior to kosher meat, which is the equivalence of Google’s

                                  21   contention here that out-of-area ads performed better than in-area ads. Id. at 329 (“For each

                                  22   consumer who relies on the truth and accuracy of a label and is deceived by misrepresentations

                                  23   into making a purchase, the economic harm is the same: the consumer has purchased a product

                                  24   that he or she paid more for than he or she otherwise might have been willing to pay if the product

                                  25   had been labeled accurately.”) (emphasis added). Likewise, the class members here have been

                                  26   injured, notwithstanding the purported better performance of the unwanted clicks; all advertisers

                                  27   paid more for the out-of-area clicks than what they otherwise might have been willing to pay.

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                                   1          The Ninth Circuit has also specifically rebuffed Google’s attempt to defeat class

                                   2   certification using after-the-fact benefits received by consumers, holding instead that “UCL . . .

                                   3   restitution is based on what a purchaser would have paid at the time of purchase had the purchaser

                                   4   received all the information.” Pulaski, 802 F.3d at 989 (emphasis added); cf. Kwikset, 51 Cal. 4th

                                   5   at 329. Accordingly, the fact that certain class members may have received a benefit or

                                   6   “conversion” from an out-of-area click would not change the amounts those members would be

                                   7   entitled to on restitution, which are measured at the time of those transactions. Google’s after-the-

                                   8   fact benefits argument, therefore, does not raise a true individualized inquiry.22

                                   9          The Court can appreciate that the nature of digital advertisements and “clicks” may present

                                  10   some difficulties in applying conventional injury principles. For example, given that advertising

                                  11   success is inherently accompanied by a degree of probability, it may be difficult to compare the

                                  12   value of an in-area click with the value of an out-of-area click, at least from an advertiser’s
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                                  13   perspective at the outset. However, the Ninth Circuit in Pulaski was confronted with an analogous

                                  14   quandary—also involving a UCL case relating to Google advertisements—where “the harm

                                  15   alleged [was] Google’s placement of ads on lower-quality web pages without the advertisers’

                                  16   knowledge.” 802 F.3d at 989. There, the Ninth Circuit succinctly and clearly held that

                                  17   “restitution is available on a classwide basis once the class representative makes the threshold

                                  18   showing of liability under the UCL,” rejecting Google’s contentions that class-wide restitution

                                  19   would include some advertisers who “derived direct economic benefits from ads placed on parked

                                  20   domains and error pages.” Id. at 984, 986. Here, confronted with a similar theory of injury based

                                  21   on a similar structure for advertising clicks, the Court cannot discern a meaningful basis to depart

                                  22   from the Ninth Circuit’s holding in Pulaski.

                                  23          Accordingly, the Court does not find that Google has raised any significant issues relating

                                  24
                                       22
                                         The Court does not read Google’s briefs to be arguing that predominance may be defeated by
                                  25   individual inquiries into the amounts of damages. However, to the extent Google’s argument on
                                       purported benefits relies on the different degrees of injury suffered by different class members, the
                                  26   Court reiterates the well-established rule in the Ninth Circuit that “damage calculations alone
                                       cannot defeat certification.” See, e.g., Yokoyama v. Midland Nat. Life Ins. Co., 594 F.3d 1087,
                                  27   1094 (9th Cir. 2010).
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                                   1   to the individualized assessments of after-the-fact benefits certain class members may have

                                   2   received from out-of-area clicks, and certainly not any issue sufficiently predominant to outweigh

                                   3   the common question of UCL liability.

                                   4                                 ii.     Materiality

                                   5          Google also contends that there would be individual inquiries into materiality, namely

                                   6   whether it was material to class members that Google would charge advertisers for clicks

                                   7   originating outside of their selected locations. CC Opp. 27–28. In support of this proposition,

                                   8   Google relies on the fact that—after it allowed advertisers to opt out of the query parsing practice

                                   9   that gave rise to certain out-of-area clicks—only a slim minority of AdWords accounts opted out

                                  10   of the practice. Id.

                                  11          As the Court explained above at Section III.B.2, a failure to establish materiality is not

                                  12   necessarily fatal for a UCL fraud claim because the core inquiry is whether reasonable members of
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                                  13   the public are likely to be deceived. This framework has led courts to remark that, in “UCL fraud

                                  14   cases, questions of materiality . . . do not necessarily undermine predominance.” DZ Rsrv. v. Meta

                                  15   Platforms, Inc., 2022 WL 912890, at *7 (N.D. Cal. Mar. 29, 2022). And it makes sense why this

                                  16   is so; asking whether a reasonable consumer would have been deceived is an objective question

                                  17   that “can be proved through evidence common to the class[, so it] is a common question for

                                  18   purposes of Rule 23(b)(3).” Amgen, 568 U.S. at 467 (internal quotation marks and brackets

                                  19   omitted); see also Milan v. Clif Bar & Co., 340 F.R.D. 591, 599 (N.D. Cal. 2021) (“[T]he UCL,

                                  20   FAL, and CLRA . . . require only an objective showing that members of the public were likely to

                                  21   have been deceived by [the] product claims.”). Given the well-recognized objective nature of the

                                  22   materiality analysis, the Court finds Google’s materiality argument to be suspect from the outset.

                                  23          In support of its theory of individualized materiality, Google proffers data it collected after

                                  24   it allowed advertisers to opt out of query parsing. CC Opp. 27. This data shows that few

                                  25   advertisers opted out of query parsing once Google offered the option to do so (Evans Decl., Ex.

                                  26   41 ¶¶ 7–9, ECF No. 443-24), which, according to Google, raises individualized issues. To the

                                  27   contrary, Google’s reliance on this data actually supports RMC’s position that materiality is a

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                                   1   common question, because it did not arise out of individualized case studies; it was a study

                                   2   conducted across all AdWords accounts. In other words, even if Google is correct that its data

                                   3   shows LT Settings Screen statement were not material, “individual issues would not predominate;

                                   4   instead, [RMC’s] claims would [simply] fail on a classwide basis.” Arris, 327 F.R.D. at 365.

                                   5   Google’s quantitative data may be persuasive to a factfinder on the merits of RMC’s claims, but

                                   6   for class certification, this data does not raise any individualized inquiries that would outweigh the

                                   7   common questions for RMC’s UCL claim.

                                   8          Accordingly, Google’s evidence of “individualized issues” relating to the materiality of

                                   9   “area-of-interest targeting” do not disturb the predominance of common questions.

                                  10                                  iii.    Exposure and Reliance

                                  11          Google further asserts that RMC has not satisfied its burden under Rule 23(b)(3) because

                                  12   individualized issues of reliance predominate. CC Opp. 29–32; Suppl. CC Opp. 8–11.
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                                  13   Specifically, it contends that class members’ reliance on the LT Settings Screen statements would

                                  14   vary depending on whether they viewed other curative disclosures and their level of sophistication.

                                  15          Reliance and exposure to misrepresentations are related but not identical concepts under

                                  16   the UCL. With regards to reliance, the California Supreme Court in Tobacco II “interpreted [the

                                  17   UCL] statute to mean that named plaintiffs, but not absent ones, must show proof of ‘actual

                                  18   reliance’ at the certification stage.” Walker v. Life Ins. Co. of the Sw., 953 F.3d 624, 630 (9th Cir.

                                  19   2020) (citing Tobacco II, 46 Cal. 4th 298). However, this presumption of absent class members’

                                  20   reliance may not hold if “there was no cohesion among the members because they were exposed to

                                  21   quite disparate information.” Id. at 631 (emphasis added) (quoting Stearns v. Ticketmaster Corp.,

                                  22   655 F.3d 1013, 1020 (9th Cir. 2011)). “In the absence of the kind of massive advertising

                                  23   campaign at issue in Tobacco II, the relevant class must be defined in such a way as to include

                                  24   only members who were exposed to advertising that is alleged to be materially misleading.” Id. at

                                  25   634 (emphasis added) (quoting Mazza v. Am. Honda Motor Co., 666 F.3d 581, 596 (9th Cir.

                                  26   2012), overruled on other grounds by Olean, 31 F.4th 651); see also Berger, 741 F.3d at 1069

                                  27   (“[C]lass certification of UCL claims is available only to those class members who were actually

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                                   1   exposed to the business practices at issue.”) (emphasis added).

                                   2          Exposure: Here, RMC does not specifically allege or demonstrate the existence of a

                                   3   “massive advertising campaign” for Google’s Location Targeting features. Accordingly, the

                                   4   Location Targeting Class must be defined to only include members who were exposed to the LT

                                   5   Settings Screen statements. RMC contends that it is. See Suppl. CC Reply 6 (“[T]he alleged

                                   6   misrepresentation appeared on the Setting Screen, which all LT Class members necessarily viewed

                                   7   when they signed up for location targeting.”). The Court agrees with RMC. The instructive and

                                   8   operative function of the LT Settings Screen statements creates a strong—if not, conclusive—

                                   9   inference that all advertisers would have seen and been exposed to the LT Settings Screen

                                  10   statements as they were setting up Location Targeting services. See Pulaski, 802 F.3d at 986

                                  11   (rejecting disparate exposure argument where the UCL claim relied on statements in “the

                                  12   AdWords sign-up materials, all of which were presented to putative class members through the
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                                  13   same online portal”) (emphasis added).

                                  14          In its supplemental opposition, Google postulates that some class members might not have

                                  15   viewed or been exposed to the LT Settings Screen statement because they relied on advertising

                                  16   agencies to set up their AdWords campaigns. Suppl. CC Opp. 9. This argument arises from two

                                  17   paragraphs in Google’s expert reports that remark broadly on survey results regarding the

                                  18   percentages of advertisers who use “external support” or “outsource” their advertising activities.

                                  19   Id. (citing Silverman Decl., Ex. 3 (“Wilcox Report”) ¶ 103, ECF No. 597-6; and then citing Evans

                                  20   Decl., Ex. 5 (“Kivetz Report”) ¶ 40, ECF No. 443-10). RMC responds that, even if class members

                                  21   used a third-party agency to implement Location Targeting services, agency law permits the

                                  22   principal to recover for fraud on its agent. Suppl. CC Reply 6–7. Although it is not particularly

                                  23   convinced by either party’s arguments or analysis on this point, the Court finds that Google’s

                                  24   evidence is too speculative to draw the conclusions it seeks and is not tailored to the Location

                                  25   Targeting Class but rather to some unspecified population of digital advertisers.

                                  26          The Court does not find that Google’s cited survey results support the proposed inference

                                  27   that class members had so relied on external agencies such that they were not exposed to Google’s

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                                   1   LT Settings Screen statement. For instance, the Wilcox Report only indicated that Google

                                   2   AdWords campaigns often use “external support,” which was defined to include campaign

                                   3   strategy support, those with more sophistication, and performance monitoring. Wilcox Report ¶

                                   4   61. Based on the Court’s review, no survey response suggested that the advertisers’ “external

                                   5   support” encompassed an external agency setting up advertisers’ Location Targeting services for

                                   6   them such that advertisers would not have been exposed to the LT Settings Screen statement.

                                   7   Likewise, the Kivetz Report simply summarized the findings from a 2013 Digital Marketing

                                   8   Spending Survey that did not appear to be limited to Google AdWords advertisers. Kivetz Report

                                   9   ¶ 40. Moreover, the Kivetz Report only noted that the survey found certain advertisers “outsource

                                  10   their digital advertising activities,” without any indication as to whether “outsource” involved

                                  11   delegating tasks such as setting up Location Targeting services. Id. Simply put, the Court cannot

                                  12   infer from the survey responses (i.e., “external support” or “outsource”) whether advertisers would
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                                  13   or would not have employed a third-party advertising agency that would have precluded exposure

                                  14   to the LT Settings Screen statements.23

                                  15          Accordingly, the Court finds that the Location Targeting Class is defined to only capture

                                  16   members who were exposed to the LT Settings Screen statements. Google’s proffered evidence of

                                  17   potential third-party agencies do not support its proposed inferences that class members relied on

                                  18   those agencies such that they were not exposed to LT Settings Screen statements.

                                  19          Reliance: As the Court indicated above, reliance is only relevant in the class certification

                                  20   context to the extent courts must ensure that class members were exposed to the

                                  21   misrepresentations at issue. See Walker, 953 F.3d at 631 (“Rule 23(b)(3)’s predominance inquiry

                                  22   does concern itself with exposure, but for the limited purpose of satisfying the UCL’s standing

                                  23   requirement of reliance.”). To the extent Google suggests that there exist individualized inquiries

                                  24

                                  25   23
                                          For similar reasons, the Court also declines to engage with RMC’s theory of imputing fraud
                                       committed against an agent to fraud on the principal. Suppl. CC Reply 6–7. There is insufficient
                                  26   evidence before the Court as to the prevalence and use of third-party advertising agencies amongst
                                       the Location Targeting Class members, but there is even less evidence as to the nature of those
                                  27   third parties’ relationships that would support class-wide inferences as to agency findings.
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                                   1   of absent class members’ reliance on the LT Settings Screen statements, that theory is foreclosed

                                   2   by the California Supreme Court’s holding in Tobacco II, 46 Cal. 4th at 324 (declining to impose

                                   3   “section 17204’s standing requirements on absent class members in a UCL class action”).

                                   4          However, Google nonetheless contends that the Court must consider individual inquiries as

                                   5   to whether class members viewed “curative disclosures.” In support, Google relies primarily on

                                   6   Mazza v. American Honda Motor Co., 666 F.3d 581 (9th Cir. 2012), to argue that a UCL class

                                   7   cannot be certified when the misleading representations were “dispelled by disclosures in other

                                   8   materials.” CC Opp. 29. Mazza, however, is factually distinguishable and does not support

                                   9   Google’s broad proposition that any misrepresentation can be cured with disclosures elsewhere.

                                  10   First, the Ninth Circuit in Mazza declined to infer reliance because “it [was] likely that many class

                                  11   members were never exposed to the allegedly misleading advertisements, insofar as advertising of

                                  12   the challenged system was very limited.” Mazza, 666 F.3d at 595 (emphasis added). This is
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                                  13   plainly not the case here, where the challenged LT Settings Screen statements were the very

                                  14   instructions that advertisers would have seen as they were selecting which locations to target with

                                  15   their ads. Second, the defendant in Mazza did not affirmatively “dispel” (as Google suggests) the

                                  16   misrepresentations using other disclosures. Rather, the Ninth Circuit simply observed that the

                                  17   misleading advertising materials did not make any affirmative representations regarding the

                                  18   existence of the product limitations at issue. See Mazza, 666 F.3d at 596 (noting that defendant’s

                                  19   “advertising materials do not deny that [the challenged undisclosed] limitations exist”) (emphasis

                                  20   added). This too has limited relevance to the instant case, where the ubiquitous LT Settings

                                  21   Screen statements affirmatively instructed advertisers to select the “geographical locations” or the

                                  22   “cities and regions . . . where [they would] like [their] ad to appear.”24 See Mazzeo Decl., Ex. 45

                                  23   (“In what geographical locations do you want your ads to appear?”); Ex. 47 at 7 (“Highlight the

                                  24

                                  25   24
                                         To the extent Google relies on the single remark from Mazza that the “relevant class must also
                                       exclude those members who learned of the [] allegedly omitted limitations before they purchased
                                  26   or leased the [product],” 666 F.3d at 596, the close temporal and spatial proximity of the LT
                                       Settings Screen statements to the actual process of setting up Location Targeting would effectively
                                  27   render this argument untenable.
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                                   1   cities and regions on the left where you’d like your ad to appear.”). Both points were central to

                                   2   the Ninth Circuit’s holding in Mazza, but neither are present here.

                                   3          In addition to Mazza, Google also cites a string of cases that purportedly establishes the

                                   4   role of curative disclosures, CC Opp. 30–31, all of which are readily distinguishable from the

                                   5   present facts. See Philips v. Ford Motor Co., 2016 WL 7428810, at *23 (N.D. Cal. Dec. 22, 2016)

                                   6   (involving solely Magnusson-Moss Act and Song-Beverly Act claims, not UCL claims);

                                   7   Schellenbach v. GoDaddy.com, LLC, 321 F.R.D. 613, 623 (D. Ariz. 2017) (finding reliance was

                                   8   not susceptible to common proof because plaintiff “cannot show that all subclass members were

                                   9   subjected to a uniform omission”); Backhaut v. Apple Inc., 2015 WL 4776427, at *7 (N.D. Cal.

                                  10   Aug. 13, 2015) (denying UCL class certification because named plaintiffs failed to show “lost

                                  11   money or property”); In re Google Inc. Gmail Litig., 2014 WL 1102660, at *1 (N.D. Cal. Mar. 18,

                                  12   2014) (asserting various state wiretap claims but no UCL claim); Decker v. Mazda Motor of Am.,
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                                  13   Inc., 2013 WL 12129281, at *7 (C.D. Cal. Mar. 29, 2013) (involving fraudulent omission of an

                                  14   automobile design defect that was repeatedly disclosed and published in technical updates).

                                  15          Nor is there any basis for considering variations in class members’ sophistication as part of

                                  16   the Court’s Rule 23(b)(3) analysis. As the Court discussed above at Section V.B.1.c, Google’s

                                  17   suggestion that UCL reliance is predicated on the sophistication of advertisers is inconsistent with

                                  18   the UCL’s objective “reasonable consumer” standard. See also, e.g., Skinner v. Ken’s Foods, Inc.,

                                  19   53 Cal. App. 5th 938, 948 (2020) (noting that a reasonable consumer “need not be ‘exceptionally

                                  20   acute and sophisticated,’ nor must they ‘necessarily be wary or suspicious of advertising claims’”).

                                  21          Accordingly, pursuant to Tobacco II and subsequent Ninth Circuit decisions, the Court

                                  22   does not find that issues arising from absent class members’ reliance or exposure to curative

                                  23   disclosures are proper individualized UCL inquiries and, therefore, do not defeat the

                                  24   predominance of common questions.

                                  25                                 iv.     Choice of Law

                                  26          Next, Google argues that, because the UCL is a California law that applies only to

                                  27   California class members, class members from other states would be subject to different consumer

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                                   1   protection laws, resulting in individualized inquiries into those different consumer protection laws.

                                   2   CC Opp. 32–33 (citing Mazza, 666 F.3d at 590). RMC responds that California law applies to all

                                   3   putative class members, regardless of their state of residency, because all members were party to

                                   4   the AdWords agreement containing a California choice-of-law clause. CC Reply 18–19.

                                   5          “A federal court sitting in diversity must look to the forum state’s choice of law rules to

                                   6   determine the controlling substantive law.” Zinser v. Accufix Rsch. Inst., Inc., 253 F.3d 1180,

                                   7   1187 (9th Cir. 2001). The California Supreme Court has recognized two different frameworks for

                                   8   selecting what jurisdiction’s law should apply: (1) “[w]hen the parties have an agreement that

                                   9   another jurisdiction's law will govern their disputes, the appropriate analysis for the trial court to

                                  10   undertake is set forth in Nedlloyd [Lines B.V. v. Superior Ct., 3 Cal. 4th 459 (1992)], which

                                  11   addresses the enforceability of contractual choice-of-law provisions”; and (2) “when there is no

                                  12   advance agreement on applicable law, but the action involves the claims of residents from outside
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                                  13   California, the trial court may analyze the governmental interests of the various jurisdictions

                                  14   involved. . . .” Wash. Mut. Bank, FA v. Superior Ct., 24 Cal. 4th 906, 914–15 (2001).

                                  15          Because there is indeed an “advance agreement on applicable law” here (the AdWords

                                  16   Agreement), the Court must apply the multi-step Nedlloyd framework to determine the

                                  17   enforceability of the choice-of-law clause. Wash. Mut. Bank, 24 Cal. 4th at 915. To begin, the

                                  18   Court must analyze the choice-of-law clause to determine whether “the various claims of putative

                                  19   class members fall within its scope.” Id. at 916. If the class claims fall within the scope of the

                                  20   choice-of-law clause, the Court then determines whether the chosen state has a “substantial

                                  21   relationship to the parties or their transaction.” Id. If such a nexus exists, the Court must then

                                  22   ensure that the chosen state’s law is not contrary to a “fundamental policy of California.” Id. If

                                  23   the clause passes these hurdles, “the [C]ourt shall enforce the parties’ choice of law.” Id.

                                  24          The Court first turns to the language of the choice-of-law provision, which reads: “THE

                                  25   AGREEMENT MUST BE CONSTRUED AS IF BOTH PARTIES JOINTLY WROTE IT AND

                                  26   GOVERNED BY CALIFORNIA LAW EXCEPT FOR ITS CONFLICTS OF LAWS

                                  27   PRINCIPLES.” AdWords Agreement ¶ 9. Google asserts that the scope of this clause only

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                                   1   encompasses California contract law and leaves out non-contractual California consumer

                                   2   protection laws such as the UCL. CC Opp. 33 n.12. The California Supreme Court, however,

                                   3   does not interpret choice-of-law clauses so narrowly, explaining that the specific choice-of-law

                                   4   phrase used here (“governed by California law”) is an especially “broad one signifying a

                                   5   relationship of absolute direction, control, and restraint.” Nedlloyd, 3 Cal. 4th at 469; see also

                                   6   Wash. Mut. Bank, 24 Cal. 4th at 916 (“[W]hen a rational businessperson . . . provides that disputes

                                   7   arising from the agreement shall be governed by the law of an identified jurisdiction, the logical

                                   8   conclusion is that he or she intended that law to apply to all disputes arising out of the transaction

                                   9   or relationship.”). Here, the AdWords Agreement expressly purports to “govern [advertisers’]

                                  10   participation in Google’s advertising program(s) . . . and/or [advertisers’] online management of

                                  11   any advertising campaigns,” which would appear to include the Location Targeting features on its

                                  12   face. AdWords Agreement 1 (emphasis added). Given such broad language in both the contract’s
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                                  13   agreed-upon scope and its choice-of-law clause, the Court finds that the Location Targeting UCL

                                  14   claim falls within the scope of the AdWords Agreement relationship.

                                  15          Google cites several cases in support of its proposition that choice-of-law contract

                                  16   provisions do not import the selected jurisdiction’s consumer protection laws. CC Opp. 33 n.12.

                                  17   However, these cases all involved clauses in contracts that did not cover the injury at issue or

                                  18   clauses that selected California law for only narrow applications. See, e.g., Darisse v. Nest Labs,

                                  19   Inc., 2016 WL 4385849, at *8 (N.D. Cal. Aug. 15, 2016) (declining to enforce choice-of-law

                                  20   clause where the contract at issue expressly did not cover the purchase in dispute); Frenzel v.

                                  21   AliphCom, 76 F. Supp. 3d 999, 1009 (N.D. Cal. 2014) (declining to enforce choice-of-law clause

                                  22   in the terms of use for defendant’s website while the UCL claim related to plaintiff’s purchase of

                                  23   defendant’s product); In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 903 F.

                                  24   Supp. 2d 942, 965 (S.D. Cal. 2012) (declining to apply choice-of-law clause where, “[b]y its own

                                  25   terms, [] the provision dictates only that California law applies to the construction and

                                  26   interpretation of the contract”) (emphasis added).

                                  27          Moreover, the Ninth Circuit has held that, “[i]f a state law does not have limitations on its

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                                   1   geographical scope, courts will apply it to a contract governed by that state’s law, even if parts of

                                   2   the contract are performed outside of the state.” Gravquick A/S v. Trimble Navigation Int’l Ltd.,

                                   3   323 F.3d 1219, 1223 (9th Cir. 2003). Google has not identified—nor has the Court been able to

                                   4   identify—any “express requirement [in the UCL] limiting its protection to [consumers] located in

                                   5   California.”25 Id. This is consistent with the various courts that have rejected arguments like

                                   6   Google’s with some regularity, finding that the UCL applied where parties had selected California

                                   7   law to govern their contract. See, e.g., Maldonado v. Apple, Inc, 2021 WL 1947512, at *7 (N.D.

                                   8   Cal. May 14, 2021) (rejecting argument that choice-of-law clause did not include “state statutory

                                   9   law” and finding instead that “the parties contracted to apply the law of California to disputes

                                  10   arising from their [] contracts and these particular UCL . . . claims do”); Underwood v. Future

                                  11   Income Payments, LLC, 2018 WL 4964333, at *12 (C.D. Cal. Apr. 26, 2018) (finding that the

                                  12   UCL applies where the contract selected California law and defendants operated out of
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                                  13   California). Accordingly, Google’s narrow reading of the choice-of-law clause to exclude non-

                                  14   California class members from the UCL claim is unpersuasive.

                                  15          Having found that the UCL claim falls within the scope of the choice-of-law clause, the

                                  16   Court proceeds to consider whether the selected jurisdiction has a “substantial relationship to the

                                  17   parties or their transaction” and whether the selected law is “contrary to a fundamental policy of

                                  18   California.” Wash. Mut. Bank, 24 Cal. 4th at 915–16. As to the first requirement, California

                                  19   plainly has a substantial relationship to the parties, given that Google is headquartered in

                                  20   Mountain View, California. Compl. ¶¶ 21–23. As to the second, it is self-evident that California

                                  21   law is not contrary to itself. Accordingly, the Court is satisfied that California has a substantial

                                  22

                                  23   25
                                          Although the UCL (like most California law) is subject to a general presumption against
                                       extraterritoriality, see Sullivan v. Oracle Corp., 51 Cal. 4th 1191, 1207 (2011), Google does not
                                  24   argue that extraterritoriality would bar the application of UCL in this case. In any event,
                                       “[h]onoring [a] choice of law [clause] does not give extraterritorial application to the statute, even
                                  25   if the contract was performed partially outside of California, so long as the contract itself was
                                       properly governed by California law.” Gravquick, 323 F.3d at 1222 (citing Foreman v. George
                                  26   Foreman Assocs., Ltd., 517 F.2d 354, 356 (9th Cir. 1975) (rejecting argument that enforcing a
                                       choice-of-law clause “gives extraterritorial effect to California law”)); see also Leonard v. Coll.
                                  27   Network, Inc., 2004 WL 2944050, at *6 (N.D. Cal. Dec. 17, 2004) (same).
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                                   1   relationship to the parties in this case and there is no conflict with fundamental California policy.

                                   2          Because the choice-of-law clause in the AdWords Agreement satisfies the multi-part

                                   3   Nedlloyd test, the Court finds that the clause is enforceable and that the UCL governs Google’s

                                   4   challenged location targeting practices under the Agreement. Accordingly, the certification of the

                                   5   nationwide Location Targeting Class would not require individual inquiries into the several states’

                                   6   consumer protection laws.

                                   7                                  v.      Damages Models

                                   8          Finally, as part of their Rule 23(b)(3) obligation to demonstrate that common questions

                                   9   predominate, plaintiffs seeking class certification must present a model of damages that

                                  10   “measure[s] only those damages attributable to [their] theory.” Comcast, 569 U.S. at 35; see also

                                  11   id. (“If the model does not even attempt to do that, it cannot possibly establish that damages are

                                  12   susceptible of measurement across the entire class for purposes of Rule 23(b)(3).”).
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                                  13          The Ninth Circuit has not construed Comcast as requiring plaintiffs to proffer a class-wide

                                  14   method for calculating damages at the class certification stage, Pulaski, 802 F.3d at 987–88

                                  15   (collecting circuit cases); instead, it has understood Comcast as requiring plaintiffs to demonstrate

                                  16   a logical connection between their damages model and their theory of liability. Id. (“[P]laintiffs

                                  17   must be able to show that their damages stemmed from the defendant’s actions that created the

                                  18   legal liability.”). The Ninth Circuit has also consistently reaffirmed that “differences in damage

                                  19   calculations do not defeat class certification.” Id. at 988.

                                  20          With respect to their obligations under Comcast, RMC offers three different methods for

                                  21   calculating damages that are attributable to their theory of UCL fraud liability: (1) the “partial

                                  22   refund” method; (2) “Smart Pricing” restitution (“SPR”); and (3) restitutionary disgorgement of

                                  23   profits. CC Mot. 28–34. The “partial refund” method calculates damages as the full amount class

                                  24   members paid for out-of-area clicks. Id. at 29; see also 11/8/2018 Suppl. Solomon Rep. ¶ 5. The

                                  25   alternative SPR method calculates damages by starting with the amount class members paid for

                                  26   out-of-area clicks (i.e., the “partial refund” amount) and deducting “the amount Google’s Smart

                                  27   Pricing algorithms estimate that a rational advertiser might have been willing to pay for these

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                                   1   mistargeted clicks.” 11/8/2018 Suppl. Solomon Rep. ¶ 5. This method purports to track the

                                   2   restitution method approved by the Ninth Circuit in Pulaski by accounting for the residual value

                                   3   class members may have received from paying for an out-of-area click. See CC Mot. 31–32.

                                   4   Finally, RMC proposes that damages may also be calculated by restitutionary disgorgement of

                                   5   profits, which is “the amount of net profit Google made directly from the Out-of-Area Clicks”

                                   6   estimated by Plaintiffs’ expert. 11/8/2018 Suppl. Solomon Rep. ¶ 5.

                                   7          The Court finds that RMC’s proposed theories of restitution satisfy Comcast’s directive for

                                   8   damages models to measure only those attributable to plaintiffs’ theory of liability, i.e., that

                                   9   Google’s Settings Screen statement deceived class members into believing that it would only

                                  10   charge for in-area clicks. Even the most generous model of restitution—the partial refund

                                  11   model—would only award class members for their payments on clicks originating from outside

                                  12   the locations they had specifically selected, which is precisely what RMC claims they were
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                                  13   deceived into paying. Whether an advertiser should receive as damages the full amount that she

                                  14   paid or whether some portion of that amount should be deducted as value received (i.e., SPR

                                  15   Model) or as Google’s costs (i.e., restitutionary disgorgement of profits) does not alter the fact that

                                  16   the base restitution amount is derived from and tracks RMC’s theory of liability regarding out-of-

                                  17   area clicks. This nexus between RMC’s restitution models and its theory of liability also

                                  18   distinguishes the case here from others where courts have rejected damages models under

                                  19   Comcast because the damages models were not consistent with the liability case. See, e.g., Arris,

                                  20   327 F.R.D. at 369–70 (“[T]his Court and other courts in this district have found that damages

                                  21   models fail under Comcast where the model is not consistent with the liability case.”) (collecting

                                  22   cases). “At this stage, Plaintiffs need only show that such damages can be determined without

                                  23   excessive difficulty and attributed to their theory of liability,” Just Film, 847 F.3d at 1121, and the

                                  24   Court finds that RMC’s proffered restitution models have done so to Comcast’s satisfaction.

                                  25          Google criticizes RMC’s damages models for their failure to “segregate those advertisers

                                  26   who benefited from [the out-of-area clicks] from any who might have been harmed.” CC Mot. 25.

                                  27   It also contends that the Court may not certify a class that includes uninjured individuals. CC

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                                   1   Mot. 25; Suppl. CC Mot. 11–17. With respect to the first point, the Court has explained that any

                                   2   benefits that certain class members eventually received from out-of-area clicks do not impact UCL

                                   3   restitution, which is “based on what a purchaser would have paid at the time of purchase had the

                                   4   purchaser received all the information.” Pulaski, 802 F.3d at 989 (emphasis added). The

                                   5   purported failure to segregate class members who had received benefits from out-of-area clicks,

                                   6   therefore, cannot defeat certification.

                                   7          As to Google’s second point regarding uninjured individuals, the Ninth Circuit has

                                   8   expressly “overrule[d] the statement . . . that ‘no class may be certified that contains members

                                   9   lacking Article III standing,’” remarking that this requirement “does not apply when a court is

                                  10   certifying a class seeking injunctive or other equitable relief” and where the class representative

                                  11   has standing. Olean, 31 F.4th at 682 n.32; cf. TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208

                                  12   (2021) (expressly declining to “address the distinct question whether every class member must
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                                  13   demonstrate standing before a court certifies a class”) (italics in original). In short, even if the

                                  14   Court were to agree with Google that some class members were not injured by the LT Settings

                                  15   Screen statement, such a finding would not compel the Court to decline class certification.

                                  16          Google’s remaining objections to RMC’s proposed theories of restitution are also

                                  17   unavailing. For instance, to the extent Google argues that the “partial refund” method arbitrarily

                                  18   ascribed a value of $0 to out-of-area clicks, that argument is a “merits argument about the proper

                                  19   amount of damages, not a mismatch between Plaintiffs’ damages model and theory of liability.”

                                  20   Arris, 327 F.R.D. at 370. Google asserts the same argument to oppose RMC’s restitutionary

                                  21   disgorgement of profits, though it also suggests that RMC’s disgorgement model is actually non-

                                  22   restitutionary. CC Opp. 26. With respect to the latter point, the Court does not consider RMC’s

                                  23   theory of disgorgement of profits to be non-restitutionary because RMC is only seeking

                                  24   disgorgement of monies that class members themselves have paid to Google for out-of-area clicks.

                                  25   See Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1148 (2003) (“Under the UCL,

                                  26   an individual may recover profits unfairly obtained to the extent that these profits represent monies

                                  27   given to the defendant or benefits in which the plaintiff has an ownership interest.”). And finally,

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                                   1   Google objects to the SPR method of calculating restitution by summarily asserting that, “because

                                   2   the conversion rate for out-of-area clicks is generally higher per dollar spent,” this method “would

                                   3   generally yield a higher value for out-of-area clicks.” CC Mot. 26 n.9. This, however, is

                                   4   unsupported by any evidence suggesting Smart Pricing would result in a higher value than what

                                   5   class members actually paid. In any event, this argument also appears to be contesting the proper

                                   6   amount of damages, as opposed to the threshold question of whether the SPR method is congruent

                                   7   with RMC’s theory of UCL fraud liability.

                                   8           Accordingly, the Court finds that RMC’s proposed restitution calculations satisfy its

                                   9   obligations under Comcast to provide a damages model that measures only those damages

                                  10   attributable to its theory of liability.

                                  11                                                    ***

                                  12           Having considered the questions common to the Location Targeting Class, as well as the
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                                  13   individualized inquiries that Google has identified, the Court finds that the central and common

                                  14   question of UCL liability predominates over potential individualized inquiries such as injury and

                                  15   exposure to Google’s misrepresentations.

                                  16                            b.      Superiority

                                  17           RMC also must demonstrate that “a class action is superior to other available methods.”

                                  18   Fed. R. Civ. P. 23(b)(3). Rule 23 instructs courts to consider four factors when assessing

                                  19   superiority: “(A) the class members’ interests in individually controlling the prosecution or

                                  20   defense of separate actions; (B) the extent and nature of any litigation concerning the controversy

                                  21   already begun by or against class members; (C) the desirability or undesirability of concentrating

                                  22   the litigation of the claims in the particular forum; and (D) the likely difficulties in managing a

                                  23   class action.” Fed. R. Civ. P. 23(b)(3).

                                  24           The Court finds that RMC has also satisfied this requirement, as a class action is the

                                  25   superior method of handling the claims of individual advertisers. As an example, the

                                  26   restitutionary award for RMC on the Location Targeting UCL claim would only reach a maximum

                                  27   of $88.73. No reasonable advertiser is likely to pursue these claims on his or her own, given the

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                                   1   cost and other resources required to litigate against a company like Google, as evidenced by the

                                   2   longevity of this very case. These factors all “vividly point[] to the need for class treatment.” Just

                                   3   Film, 847 F.3d at 1123.

                                   4                                                     ***

                                   5           Having reviewed the evidence presented and considered the arguments asserted regarding

                                   6   the certification of the Location Targeting Class, the Court finds that Plaintiffs have satisfied the

                                   7   four requirements of Rule 23(a). Furthermore, the Court finds that questions common to the

                                   8   Location Targeting Class predominate over any questions affecting only individual members, and

                                   9   that a class action is superior to other methods of adjudicating the parties’ dispute. Accordingly,

                                  10   the Court finds that the Location Targeting Class may be certified under Rule 23(b)(3).

                                  11   VI.     CONCLUSION
                                  12           For the reasons above, the Court DENIES Google’s motion for summary judgment and
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                                  13   motion to strike expert reports. The Court also GRANTS IN PART and DENIES IN PART

                                  14   Plaintiffs’ motion for class certification. Specifically, the Court certifies the Location Targeting

                                  15   Class and Search Bundled Clicks Subclass. However, Plaintiffs have failed to meet their burden

                                  16   of showing that common questions predominate as to the Non-Smart Priced Clicks, AFMA Clicks,

                                  17   and mGDN Clicks Subclasses, so the Court declines to certify those subclasses. The Court’s

                                  18   denial as to those three subclasses is without prejudice, and Plaintiffs may renew their motion for

                                  19   class certification after addressing the issues identified in this Order.

                                  20           IT IS SO ORDERED.

                                  21   Dated: August 15, 2023

                                  22

                                  23
                                                                                                       EDWARD J. DAVILA
                                  24                                                                   United States District Judge
                                  25

                                  26
                                  27

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